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Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2338 Page 1 of 106




   1    TIFFANY DEHEN J.D.               NUNCPROTUNC
        1804 GARNET AVENUE#239                8/27/2018
   2    SAN DIEGO, CA 92109
        858-262-0052                                                Sep 05 2018
   3    tiffany.dehen@gmail.com
   4                                                                   s/ Josepht
        Pro Se Plaintiff
   5
   6
   7
   8
                            UNITED STATES DISTRICT COURT
   9
                           SOUTHERN DISTRICT OF CALIFORNIA
  10
  11    TIFFANY DEHEN, an individual          Case No.: 17-cv-00198-LAB-WVG
        on behalf of herself,
  12                                          PLAINTIFF'S NOTICE OF
                     Plaintiff,               MOTION AND MOTION FOR
  13                                          COURT TO CONSIDER NEW
              v.                              ADDITIONAL EVIDENCE IN
  14                                          SUPPORT OF PLAINTIFF'S
        JOHN DOES 1-100.J,TWITTER,            MOTION FOR LEAVE TO FILE
  15    INC~ UNIVERSITY OF SAN                THIRD AMENDED COMPLAINT
        DIE\jO, AND PERKINS COIE,
  16    LLP.,
  17                 Defendants.
  18
  19
  20
  21
  22          PLEASE TAKE NOTICE that Pro Se Plaintiff, Tiffany L. Dehen,
  23    moves this Court to consider additional new evidence submitted with this
  24    filing in deciding Plaintiff's motion for leave to file Plaintiff's Third
  25    Amended Complaint submitted by Plaintiff August 20, 2018 concurrently
  26    with her supplemental brief pursuant to court order.
  27
  28                                          1
        MOTION TO FILE ADDITIONAL       No.: 17-cv-00198-LAB-WVG
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   1          The additional evidence attached hereto includes a copy of a
   2    Temporary Restraining Order denial from the Superior Court of California,
   3    County of San Diego, Central Division, Hall of Justice, 330 W. Broadway,
   4    San Diego, CA 92101 with a notice of hearing for permanent restraining
   5    order taking place September 17, 2018 at 8:30 a.m. in Department 61 against
   6    Mr. Mohammed Wael Aly, California State Bar License Number 312419,
   7    whom Plaintiff believes comprises John Doe 1 in this litigation.
   8          The past several weeks Plaintiff has been working with law
   9    enforcement to gather additional information and evidence materially
  10    relevant to her claims in this litigation. Plaintiff continues to explore and
  11    exhaust all other reasonable legal avenues available to her.
  12          Despite the fact that Plaintiff disclosed to the Superior Court in San
  13    Diego direct evidence showing Mr. Aly stalked her at least twice, in the form
  14    of the 07/09/2016 San Diego Police Department report and emails from the
  15    07/09/2016 incident, as well as direct evidence showing a blank card Ms.
  16    Dehen received in July 2016 in Mr. Aly's handwriting, in addition to the
  17    statements Mr. Aly made to Ms. Dehen regarding him being an openly
  18    declared enemy combatant of the United States of America by stating that he
  19    was in an ISIS Sleeper Cell until he's activated on October 20, 2015, San
  20    Diego Superior Court denied Ms. Dehen's request for a temporary civil
  21    restraining order against Mr. Aly. Please see attached documentation.
  22          Law enforcement agencies, in particular the San Diego Police
  23    Department, explained to Ms. Dehen that Mr. Aly's behavior has not risen to
  24    the level of a criminal threat warranting criminal intervention without
  25    "more" (such as a direct threat including the time and weapon, and then him
  26    showing up with the weapon). Despite the fact that Mr. Aly continues to
  27    escalate his illegal behavior after suffering no repercussions for his illegal
  28                                           2
        MOTION TO FILE ADDITIONAL                      No.: l 7-cv-00198-LAB-WVG
        EVIDENCE ISO MOTION TO FILE TAC
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Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2340 Page 3 of 106




  1    behavior which directly hanned Ms. Dehen, Mr. Aly continues to escape
  2    both civil and criminal liability for his illegal actions which directly harmed,
  3    and continue to harm, Ms. Dehen.           Now, Ms. Dehen has also been
  4    unsuccessful at obtaining a temporary restraining order in San Diego
  5    Superior Court.
  6          Without Twitter providing Ms. Dehen John Does' IP address(es), Ms.
  7    Dehen is limited in recourse she can take against the illegal behavior Mr. Aly
  8    and his accomplices engaged in, directly damaging Ms. Dehen, whose
  9    damages continue to increase and accrue.
 10          It appears clearly that after 18 months of litigation, Twitter will not
 11    provide the LP. address to Ms. Dehen without a Court order specifically
 12    ordering so. Twitter has a pattern of citing the Communications Decency
 13    Act ("CDA") § 230 to assert that it is under no liability to abide by its posted
 14    Terms of Use, such as here, (yet it has no problem enforcing the other
 15    provisions of its Terms of Use against other plaintiffs).        Plaintiff also
 16    provided direct evidence showing that Twitter is routinely using the CDA §
 17    230 to bar lawsuits regarding illegal censorship of plaintiffs in violation of
 18    their First Amendment rights since the government acted by enacting CDA
 19    § 230 (such as in Mr. Green's case against YouTube, Twitter, et. al.).
 20          Then there's this case, where Perkins Coie (who notably represents
 21    several big tech companies such as Facebook, You Tube, Twitter, Google, etc.
 22    in addition to the DNC, Hillary Clinton, Barack Obama, George Soros, etc.)
 23    asserts on Twitter's behalf that Ms. Dehen's breach of contract claims on
 24    basis of fraudulent misrepresentation and RICO violations are barred by the
 25    CDA § 230 as well.
 26           Twitter's bias against Conservatives such as Ms. Dehen runs so
 27    rampant that Mr. Jack Dorsey, Twitter's Chief Executive Officer, is testifying
 28                                           3
       MOTION TO FILE ADDITIONAL       No.: l 7-cv-00198-LAB-WVG
       EVIDENCE ISO MOTION TO FILE TAC
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Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2341 Page 4 of 106




   1    m    front   of Congress     m    September     2018    regarding   Twitter's
   2    "shadowbanning" and censorship practices on Twitter. Please see Breitbart
   3    article attached.
   4           Additionally, Plaintiff asserts new information is continually coming
   5    to light which will greatly impact the perception of CDA § 230 among the
   6    legal community. For example, please see the attached articles regarding Mr.
   7    Senator Ron Wyden's recent remarks regarding censorship of Mr. Alex Jones
   8    by big tech companies including, but not limited to, Twitter, You Tube, Apple,
   9    and Google.     Mr. Ron Wyden was one of the senators who wrote the
  10    Communications Decency Act in 1996, and now in 2018 Mr. Wyden is
  11    advocating for censorship of certain viewpoints such as Mr. Jones on a vast
  12    scale by more than one social media companies, thereby quite literally
  13    inciting the companies whom he helped protect in the CDA to conspire with
  14    each other to ban certain viewpoints like Mr. Jones?
  15           As plaintiff alleged, the CDA § 230 needs to be overturned as
  16    unconstitutional as it is directly infringing on Americans' First Amendment
  17    Rights; Ms. Dehen's first amendment rights are being infringed upon
  18    because she has been intimidated and threatened to stop expressing her views
  19    in public at an American University, as well as on social media networks,
  20    now the leading town squares of ideas, and now targeted for intimidation and
  21    extortion to drop her legal claims in court. The CDA § 230 is responsible
  22    for big tech companies such as Twitter shielding individuals such as John
  23    Doe in this case of potential legal redress by Ms. Dehen. Now writer and
  24    sponsor of the CDA § 230 Mr. Senator Ron Wyden is openly calling for mass
  25    censorship of certain viewpoints, which would be by definition a violation
  26    of the First Amendment.
  27
  28                                          4
        MOTION TO FILE ADDITIONAL       No.: 17-cv-00198-LAB-WVG
        EVIDENCE ISO MOTION TO FILE TAC
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Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2342 Page 5 of 106




   1          San Diego Police Department advised Ms. Dehen to stop using social
   2    media even though Ms. Dehen is not the one engaging in the illegal conduct
   3    harming Ms. Dehen, rather John Doe is. Why does the CDA § 230 protect
   4    the John Does, yet punish the plaintiffs such as Ms. Dehen attempting to
   5    exercise their rights in a court of law? Ms. Dehen alleges the big tech
   6    companies such as Twitter in this case are able to continue their illegal
   7    schemes with the help of their law firms aiding and abetting their illegal
   8    schemes such as Perkins Coie, LLP in this case; Ms. Dehen alleges
   9    conspiracy in the restraint of trade between Twitter and Perkins Coie in her
  10    third amended complaint, which she can and will further develop plausible
  11    claims upon which relief can be granted upon this Court granting her motion
  12    for leave to file her third amended complaint.
  13          WHEREFORE Plaintiff Ms. Dehen respectfully requests the Court to
  14    consider this filing with attached exhibits in deciding whether to grant
  15    Plaintiff's motion for leave to file her third amended complaint, which she
  16    respectfully requests the court to grant as justice so requires.
  17
  18    Dated: August 27, 2018
  19
  20
  21                                                                  Tiffany L. Dehen
  22                                                        180 Garnet Avenue, #239
  23                                                         Pacific Beach, CA 92109
  24                                                                Tel. 858-262-0052
  25                                                      Tiffany.Dehen@Gmail.com
  26
  27                                                                   Pro Se Plaintiff.
  28                                           5
        MOTION TO FILE ADDITIONAL       No.: 17-cv-00198-LAB-WVG
        EVIDENCE ISO MOTION TO FILE TAC
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Case 3:17-cv-00198-LAB-WVG                           PageID.2343 Page 6 of 106



   1                          CERTIFICATE OF SERVICE
  2           The undersigned hereby certifies that a true and correct copy of the
  3     foregoing document has been served on August 27, 2018 by express
  4     delivery with signature confirmation, postage pre-paid, to all current and/or
   5    opposing counsel of record, if any to date, who are deemed to have
  6     consented to electronic service via the Court's CM/ECF system per Local
  7     Rule 5.4(d).
   8
   9          Dated August 27, 2018
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        MOTION TO FILE ADDITIONAL       No.: l 7-cv-00198-LAB-WVG
        EVIDENCE ISO MOTION TO FILE TAC
Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2344 Page 7 of 106




   1    TIFFANYDEHEN J.D.
        1804 GARNET AVENUE#239
   2    SANDIEGO,CA92109
        858-262-0052
   3    tiffany.dehen@gmail.com
   4
        Pro Se Plaintiff
   5
   6
   7
   8
                            UNITED STATES DISTRICT COURT
   9
                           SOUTHERN DISTRICT OF CALIFORNIA
  10
  11    TIFFANY DEHEN, an individual           Case No.: 17-cv-00198-LAB-WVG
        on behalf of herself,
  12                                           MEMORANDUM OF POINTS AND
                     Plaintiff,                AUTHORITIES IN SUPPORT OF
  13                                           PLAINTIFF'S MOTION FOR
              v.                               LEAVE TO FILE HER THIRD
  14                                           AMENDED COMPLAINT
        JOHN DOES 1-100,:,TWITTER,
  15    INC:.2. UNIVERSITY OF SAN
        DIEliO, AND PERKINS COIE
  16    LLP.,
  17                 Defendants.
  18
  19
  20
  21          COMES NOW, the Plaintiff, TIFFANY DEREN, and moves this
  22    Court for leave to file Plaintiff's Third Amended Complaint, pursuant to
  23    Federal Rule of Civil Procedure 15(a)(2) on the following grounds:
  24          First, the Court should freely give leave to PlaiQ.tiff to file he~ Second
  25    Amended Complaint because justice so requires. Fed. R. Civ. P. 15(a)(2)
  26    provides in relevant part the following, "[i]n all other cases, a party may
  27    amend its pleading only with the opposing party's written consent or the .
  28                                1
        MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF
        PLAINTIFF'S MOTION TO FILE TAC No.: 17-cv-00198-LAB-WVG
Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2345 Page 8 of 106




   1    court's leave. This court should freely give leave when justice so requires."
   2    See Fed. R. Civ. P. 15(a)(2).
   3          Second, Plaintiff is proceeding Pro Se at this time due to the sensitive
   4    nature of her claims, which involve terroristic behavior which threatened,
   5    and continues to threaten, Plaintiffs personal safety, as well as incited, and
   6    continues to incite, fear for her personal safety, including fear of grave
   7    danger to her body, family members, and close friends, as well as fear of
   8    additional economic injury and injury from emotional distress. Although
   9    Plaintiff obtained her Juris Doctor from the University of San Diego School
 10     of Law, Plaintiff has never appeared before a Federal Judge before. Plaintiff
  11    attempted, and is still attempting, in good faith to learn and adhere to all of
 12     the rules of Federal Court, in particular the Southern District of California.
 13           Third, Plaintiff is entitled to amend her complaint because there has
 14     not been undue delay. Plaintiff hastily filed her Initial Complaint due to
 15     behavior including, but not limited to, terroristic threats and stalking, which
  16    continued to escalate and to injure Plaintiff and ultimately constitute the
 17     grounds for which this cause of action arose.
 18           Fourth, Plaintiff has become apprised of additional information which
 19     warrants new claims that Plaintiff reserved the right to bring in her prior
 20     filings. Plaintiff now motions the Court for leave to file her Third Amended
 21     Complaint in which she alleges new claims that cure any and all
 22    jurisdictional issues that the Court requested briefed by August 20, 2018.
 23           For example, Plaintiff recently obtained additional information
 24     regarding the ongoing investigation into certain individuals whom she
 25     believes comprise John Does 1-2. Ms. Dehen has been working diligently
 26     to follow up with law enforcement agencies, both state and federal, to obtain
 27     additional information to disclose to the Court and for jury trial.
 28                                            2
        MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF
        PLAINTIFF'S MOTION TO FILE TAC                No.: 17-cv-00198-LAB-WVG
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   1           Please see the attached exhibits which Ms. Dehen ran out of time to
   2    number and attach to her proposed Third Amended Complaint. Ms. Dehen
   3    respectfully requests leave of court to file her third amended complaint, a
   4    proposed redlined draft version which she will add to and develop the claims
   5    further.
   6           Ms. Dehen has thus far experienced an extremely difficult time
   7    discovering the current status of her ongoing criminal investigations with all
   8    state and federal law enforcement agencies and has received conflicting
   9    information from law enforcement agencies regarding the status of her case.
  10    Ms. Dehen has recently become apprised of the fact that she needs to go
  11    herself to get a restraining order filed against Mr. Aly, as the Bureau and
  12    state police are not currently sure of the status of the investigation. Ms.
  13    Dehen contacted SDPD to obtain information regarding her case that has
  14    been reassigned from the San Diego Sheriff Department Joint Terrorism
  15    Task Force with the Federal Bureau of !investigation. At this point, the
  16    detective Ms. Dehen spoke with on August 20, 2018, referred to by SDPD
  17    to be the detective handling her case last week, told Ms. Dehen he had never
  18    seen this case before and gave Ms. Dehen another Sgt. to contact, whom she
  19    contacted.
  20           The detective originally assigned to the case, Detective Roxanne Zigil,
  21    is not showing up in the email system, per Detective Gosnell Badge# 4652,
  22    which he suggests is due to the fact she is no longer on the department, or
  23    changed her name.        Ms. Dehen is working on obtaining additional
  24    documentation, including body camera evidence indicated on the SDPD
  25    report from 07/09/2016. Please see 07/09/2016 report.
  26
  27
  28                                3
        MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF
        PLAINTIFF'S MOTION TO FILE TAC  No.: l 7-cv-00198-LAB-WVG
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    1          Fifth, Plaintiff has measureable injury which she has sustained due to
   2    the unlawful actions of John Does 1-100, Twitter, Inc., University of San
   3    Diego and Perkins Coie, LLP, for which she deserves her day in Court.
   4           Sixth, Plaintiff is within the statute of limitations for all causes of
   5     action she alleges in her Third Amended Complaint, should this Court grant
   6    her motion.
   7     WHEREFORE Plaintiff respectfully moves the Court to accept her motion
   8     and grant her leave to file her Third Amended Complaint.
   9    Dated: August 30, 2018
  10                                                              ectfully submitted,
  11
                                                                     iffany L. e en
  12                                                          4 Garnet Avenue, #239
                                                             acific Beachi. CA 92109
  13                                                               Tel. 85~-262-0052
                                                         Tiffany.Dehen@Gmail.com
  14
  15
                                                                     Pro Se Plaintiff.
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        MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF
        PLAINTIFF'S MOTION TO FILE TAC  No.: l 7-cv-00198-LAB-WVG
Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2348 Page 11 of 106




    1                        CERTIFICATE OF SERVICE
   2          The undersigned hereby certifies that a true and correct copy of the
   3    foregoing document has been served on Augnst 20, 2018 by express
   4    delivery with signature confirmation, postage pre-paid, to all current and/or
   5    opposing counsel of record, if any to date, who are deemed to have
   6    consented to electronic service via the Court's CM/ECF system per Local
   7    Rule 5.4(d).
   8
   9          Dated August 30, 2018.
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  14                                             o Se Plaintiff.
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        MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF
        PLAINTIFF'S MOTION TO FILE TAC  No.: 17-cv-00198-LAB-WVG
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        Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2349 Page 12 of8/27
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       Twitter Chief Jack Dorsey to
       Testify Before Congress in
       September
       24Aug2018




        Emmanuel Dunand/AFP/Getty


        House Majority Leader Kevin McCarthy (R-CA) called on Dorsey to testify in
        front of Congress in early August on Twitter's "shadowbanning" and
        censorship practices on his social media platform.


https://www.breitbart.com/big-government/2018/08/24/twitter-chief-jack-dorsey-to-testify-before-congress-in-september/   Page 1 of 3
                                              Congr~(~·-- ')September I Breitbart
Twitter Chief Jack Dorsey to Testify Before
         Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2350 Page 13 of8/27/18,
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       McCarthy said in a press release on Friday:

             Social media' platforms are increasingly serving as today's town squares.
             But sadly, conservatives are too often finding their voices silenced. Over
             the past several months, I have seen more and more examples of
             censorship that impact public officials and concerned citizens expressing
             conservative thought. One-sided conversations are an affront to the public
             mission that serve as the foundations for these social media platforms -
             including Twitter.

        House Energy and Commerce Chairman (R-OR) Greg Walden said in a
        statement on Friday:

             Twitter is an incredibly powerful platform that can change the national
             conversation in the time it takes a tweet to go viral. When decisions about
             data and content are made using opaque processes, the American people
             are right to raise concerns. This committee intends to ask tough questions
             about how Twitter monitors and polices content, and we look forward to
             Mr. Dorsey being forthright and transparent regarding the complex
             processes behind the company's algorithms and content judgment calls.

        Reports in August suggested that Twitter engaged in shadowbanning, a
        practice that limits a Twitter account's reach, which includes preventing a
        user's followers from seeing tweets from their account, and has allegedly
        disproportionately affected conservatives on Twitter.

        Tech experts such as former Federal Communications Commission (FCC)
        Wireless Bureau Chief Fred Campbell have argued that Congress should
        repeal Section 230 of the Communications Decency Act, which Campbell
        contended in an interview with Breitbart News allows social media giants
        such as Twitter, Google, and Facebook to censor without legal recourse.


 https://www.breitbart.com/big-government/2018/08/24/twitter-chief-jack-dorsey-to-testify-before-congress-in-september/   Page 2 of 3
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Twitter Chief Jack Dorsey to Testify Before Congre\_
         Case 3:17-cv-00198-LAB-WVG   Document 82 Filed 09/05/18 PageID.2351 Page 14 of8/27/18,
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       "They're subject to a legislative exception that is a couple decades old,
       overturning a century of law. If they want to play editor, great, then comply
       with the laws that all of the others editors comply with and give up your
       special exemption," Campbell charged.

       Campbell also said, "We the people should decide whether Google and
       Facebook can censor and block content."

       President Donald Trump took to Twitter on Friday and called out giant social
       media companies such as Google, Facebook, and Twitter for censoring
       "millions" of Internet users.

       "Social Media Giants are silencing millions of people," Trump cautioned.

       The president added, "Can't do this even if it means we must continue to hear
       Fake News like CNN, whose ratings have suffered gravely. People have to
       figure out what is real, and what is not, without censorship!"

            Social Media Giants are silencing millions of people. Can't do this even if it
            means we must continue to hear Fake News like CNN, whose ratings have
            suffered gravely. People have to figure out what is real, and what is not,
            without censorship!

             - Donald J. Trump (@realDonaldTrump) 4_;_34 AM -Aug 24., 2018




https://www.breitbart.com/big-government/2018/08/24/twitter-chief-jack-dorsey-to-testify-before-congress-in-september/   Page 3 of 3
Senator Ron Wyden Demands "Consequences" For()rms That Don't "Remove People Like Alex Jones"(-}                  8/27/18, 9:31 AM
          Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2352 Page 15 of 106



 Senator Ron Wyden Demands "Consequences" For
 Platforms That Don't ''Remove People Like Alex Jones"
 Dem lawmaker intensifies censorship effort




      0       0


 Democratic Senator Ron Wyden is trying to take online censorship to a new level by drafting a bill that will enforce
 "consequences" for platforms that refuse to remove people like Alex Jones.

 In an interview with Recode, Wyden, the senior U.S. Senator from Oregon, said that platforms should be punished for
 hosting content that he deems to go against "common decency".

 "I think what the Alex Jones case shows, we're gonna really be looking at what the consequences are for just leaving
 common decency in the dust," said Wyden.

 "What I'm gonna be trying to do in my legislation is to really lay out what the consequences are when somebody who is a
 bad actor, somebody who really doesn't meet the decency principles that reflect our values, if that bad actor blows by the
 bounds of common decency, I think you gotta have a way to make sure that stuff is taken down," he added.

 Of course, Wyden's definition of what is 'indecent' is wide open to interpretation and will obviously be skewed by political
 bias.

 "If we were talking about really horrible pornography, I think they would have moved pretty quickly to deal with it," added

about:blank                                                                                                           Page 1 of 2
Senator Ron Wyden Demands "Consequences' For\
                                               .   (\                  .              . ..
                                     )brms That Don't "Remove People Like Alex Jones" ( )         8/27/18, 9,31 AM
            Case 3:17-cv-00198-LAB-WVG     Document 82 Filed 09/05/18 PageID.2353         Page 16 of 106
 the Senator. "I think it's also worth noting that, with respect to Alex Jones, there are probably a thousand accounts out there
 that are as bad as Alex Jones."

 According to Jones, Wyden's rhetoric represents an intensification of efforts to purge his content from existence entirely,
 with the next step being the removal of Jones from nationwide radio airwaves.

 Infowars has been banned by Facebook. Please help us by sharing this article on your own Facebook page.

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 11     .      Paul Joseph Watso·n·

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 Facebook: !J.ttps·//www.facebook.com/paul. j. watson. 71

 *********************
 Paul Joseph Watson is the editor at large of Infowars.com and Prison Planet com.




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There should be 'consequences' for platforms that (
                                  ) remove people like Alex Jones, Senator Ron Wyder-J - Recode 8/27/18, 9o30 AM
          Case 3:17-cv-00198-LAB-WVG   Document 82 Filed 09/05/18 PageID.2354 Page 17 of           106



       There should be 'consequences'
       for platforms that don't remove
       people like Alex Jones, Senator
       Ron Wyden says
       Jones and his conspiracy-minded site Infowars have
       long since "blown past the bounds of common
       decency," Wyden says.
        Eric ,Johnson Aug 22, 2018, 6:15am EDT

       Alex Wong I Getty


       Since 2016, everything that social media companies have done has been
       "either a bizarre idea or not really doing much of anything that's actually
       gonna help people."

        So says Senator Ron Wyden, the senior U.S. Senator from Oregon - a
        Democrat with a self-proclaimed "libertarian streak" and the guest on the
        latest episode of Recode Decode, hosted by Kara Swisher. As one of the
        more tech-savvy members of Congress, he's a proponent of new legislation
        that will regulate voting machine companies and data firms such as
        Cambridge Analytica, but also believes existing laws have given platforms like
        Twitter more power than they have deigned to use.

        "I think what the Alex Jones case shows, we're gonna really be looking at
        what the consequences are for just leaving common decency in the dust,''
        Wyden told Recode's Kara Swisher. "... What I'm gonna be trying to do in
        my legislation is to really lay out what the consequences are when somebody

https://www.recode.net/2018/8/22/17765664/ron-wyden-alex-jones-infowars-regulation-elections-privacy-cybersecurity-kara-swisher-podcast   Page 1 of 12
There should be 'consequences' for platforms that (   Jremove people like Alex Jones, Senator Ron Wyder--'J- Recode
          Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2355 Page 18 8/27/18,
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       who is a bad actor, somebody who really doesn't meet the decency principles
       that reflect our values, if that bad actor blows by the bounds of common
       decency, I think you gotta have a way to make sure that stuff is taken down."

       "If we were talking about really horrible pornography, I think they would
       have moved pretty quickly to deal with it," he added. "I think it's also worth
       noting that, with respect to Alex Jones, there are probably a thousand
       accounts out there that are as bad as Alex Jones."

       You can listen to Recode Decode wherever you get your podcasts, including
       Ap_ple Podcasts, S.llQ.t.iiY-, .Gili!gle Podcasts, Pocket Casts and Overcast.

       Below, we've shared an edited transcript of Kara's conversation with Senator
       Wyden. You can read a full transcript of the interview here.


       The early days of the internet
       So we met a long, long time ago in the AOL days, in the '90s, if you
       recall.

       I remember. And you know what's striking about it, back then those early
       ISPs, for example, I was a big defender of those early ISPs because they were
       the people that we really thought connected the little guy to the internet.

        Right, right.

        Now, as has been the case with so much of the field, it's dominated by the big
        guys.

        There was the Communications Decency Act, there was all kinds of
        things that you were involved in. You were one of the few Congress
        people that understood tech or had at least some insight. What got

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       you interested in tech?

       When I got to the Senate, the only person who really knew how to use a
       computer was Pat Leahy. And I said, "This is a natural for us, small state in
       the west, in between California and Washington. We can really excel in a
       whole host of areas in technology."

       And what I found was a lot of things people were looking at doing either
       called for using brick-and-mortar kind of approaches for this whole new
       digital space or were presenting a cure worse than the problem. And, for
       example, the way we got into Section 23.Q, which I think now is the
       foundation of internet jurisprudence, is people said, "Hey, these websites and
       biogs, people are going to get held personally liable for something posted on
       the site."

       Right.

       And I said, "I don't know everything about it," but I said, "Nobody's going to
       invest in social media." So we came up with an approach, Section 230, that
       was about creating a shield, so as to not have these early entrepreneurs, you
       know, clobbered by frivolous stuff. But also a sword to deal with irresponsible
       conduct. And we can stop there because part of the reason the companies are
       in so much trouble is that they haven't been using the sword.

       You know, back then there was a lot of innovation - of course, there still is.
       But big tech today seems, primarily, about clicks, monopolies and then
       monetizing at all costs. And I think that's why they're in a lot of trouble.

        Cambridge Analytica and election security
       The broader picture is that these companies, they grew enormous
       through all kinds of help and their own innovation. And then when

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       they get there, they don't want to take the responsibility. You know
       that's been my drum I've been beating on, the responsibilities that
       they have. Let's start with each of the things. Before we get to Alex
       Jones, can we get to Cambridge Analytica and election security
       first, if you don't mind?

       Yeah! This really drove home what the consequences are of a private
       company - Facebook- not being responsible. You know, people had their
       rights violated, we continue to find out how users are being harmed as a
       result of all the things that came out post-Cambridge Analytica.

       But also, it is a huge issue as it relates to election security. I have a major
       piece of legislation now, PAVE, would require paper ballots and risk-limiting
       audits. But if you have a Cambridge Analytica, it's really bad for national
       security because people can take all that information and use it to try to target
       constituencies.

       Do you think it's because these internet companies weren't
       regulated, that you all should have anticipated that this was the
       possibility? Or that you're now sort of cleaning up afterwards?

       My sense is that in those kind of early days - and we all remember the
       excitement of it - net companies were doing important work in health care,
       in education, in finding jobs. People were essentially asleep at the switch, as it
       related to the relationship between the sword and the shield. What I tell the
       companies now - and by the way, the companies don't come around very
       much to people like me anymore. In the beginning, they always did but right
       now they're saying, "Hey, Ron's really going to take us on." And I've told them
       point blank I said, "Guys, if you don't use the sword, you are going to lose the
       shield."

        Right, okay. So with election security, what is happening now in
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       Congress? And what is the possibility that anything is going to
       actually pass?

       Well, what I'm doing is I'm pulling out all the stops. Taking on these voting
       machine companies that have behaved incredibly irresponsibly. And they're
       responsible for essentially teeing up the votes for at least 40 million people,
       and perhaps more. And to give you an idea, because you're a Times
       contributor, how irresponsible they are: The major voting machine company,
       ES&S, lied to the New York Times about a crucial question. We had begun
       picking up reports that they had installed remote access software in their
       products.

       So they could deal with it, right?

       And what I said is, "That is about the most irresponsible thing you can do in
       cybersecurity. The only thing that'd actually be worse is leaving the ballot
       boxes on the street corner in Moscow." They lied to the New York Times
       about them doing it. They said they hadn't, then they had to admit they_di.d.
       And the voting machine companies have basically been above the law. If I had
       my way- and I don't have the power now in the Senate - we'd subpoena 'em
       and we'd put them under oath to talk about what they're doing, because I
       think that this is really undermining our democracy.

        Alex Jones and policing the internet
       And what is the responsibility of the social media companies?
       What kind of pressure can you put on them to ... because
       essentially, these were not hacked. With machines, you're talking
       about the possibility of hacking. In this case, these platforms were
       used for exactly the way they were built. They weren't particularly
       hacked.

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       Yeah. The social media companies basically got outed in 2016. And since
       then, practically every single thing they've done has been either a bizarre idea
       or not really doing much of anything that's actually gonna help people.

       So tell me about that.

        I mean, there is in this dark period some things we can actually look to. I'm
        trying to follow the opportunities for downranking because I think that might
        create a light at the end of the tunnel. But unless these guys are gonna be
        serious about using the part of 230 to get after people who behave
        irresponsibly, then I think they are looking at the changes they aren't gonna
        like.

        What I wanna see is, I wanna see the companies step up. And that's why I
        mentioned Alex Jones, because ... when you have somebody who calls the
        parents of murdered kids liars, then claims that their kids don't exist, then
        you have blown past the bounds of common decency, and platforms need to
        take the slime down. The same is true in terms of the election.

        Let's talk about the Alex Jones thing in more detail. Initially, they
        were very much against doing anything about it. I had podcasts
        with Mark Zuckerberg where he talked about allowing this stuff to
        go on. Then they made a switch, removing Alex Jones from the
        platform. So did Google, so did around YouTube, so did others.
        Twitter has held firm. Talk to me about the difficulties of dealing
        with stuff like that. Because there's First Amendment issues, then
        there's not freedom from consequence of what you say, too.

        Well, I think what the Alex Jones case shows, we're gonna really be looking at
        what the consequences are for just leaving common decency in the dust. That
        to me - and I'll have some more to say about it, as you know I'm working on
        a privacy bill. I think that the heart of it has gotta be citizens controlling their
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       private data, I think there's gotta be real transparency, there's gotta be
       consequences for misusing someone's data. But this goes right to the heart of
       the real value of Section 230.

       I guess, if people wanna say, "You know, we oughtajust have the government
       start dictating ..." By the way, one of the most stunning aspects of the last
       couple of days is to see conservative politicians, people like Kevin McCarthy
       and Ted Cruz, they are essentially saying that the government should run
       private companies, the government should dictate to private companies what
       they're doing. I'm sure it's vecy popular with their base, but doesn't happen to
       be the right thing. And I think that there's a much better model that was
       bipartisan that really relates to what I call rights and responsibilities, that was
       what Section 230 ...

       What rights do you think that they should have now? How do you
       assess their reaction to, just let's use Alex Jones as the example,
       how do you access their reactions to him and the changing nature?
       I do think at some point Twitter is gonna throw him off the
       platform, my guess is they're preparing that.

       What I've been disappointed in is how long it took, and how they really are
       not looking at fleshing out a policy. What's hard in this area is tech is so
       dominant in our life that it is sort of the ultimate in ad hoc policy making.
       Something goes on on Tuesday, Congress folks come back with their policy on
       Wednesday or Thursday, the history is that that's usually not vecy good.
       That's what leads us to SESTA and FOSTA and PIPA and SOPA and all these
       acronyms that were bad policies. What I've said to them in the few
       conversations we've had, we haven't had many, is, "What you really wanna do
       is see if you can build around a core set of values."

        Yeah, I talked about that.

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      That's what I was saying. I very much enjoyed your article where you said,
      "Hey, it's not just about a bunch of laws, you can have a crate full of laws, if
      you don't get your values right." And so, what I'm gonna be trying to do in my
      legislation is to really lay out what the consequences are when somebody who
      is a bad actor, somebody who really doesn't meet the decency principles that
      reflect our values, if that bad actor blows by the bounds of common decency, I
      think you gotta have a way to make sure that stuff is taken down.

       So that's a hornet's nest with the people. The idea of what they take
       down, who decides. Why do you think they're resistant to it? I
       know they're resistant to being called media companies, media
       companies have responsibilities.

       They're monopolies.

       Yeah, individually odd monopolies, too, because there's so many
       of them.

       They are, they are monopolies, and these people that were innovators at the
       beginning and trying to give consumers a fair shake now seem to be
       interested in monetizing at all costs.

       So, by the way, if we were talking about really horrible pornography, I think
       they would have moved pretty quickly to deal with it. I think it's also worth
       noting that, with respect to Alex Jones, there are probably a thousand
       accounts out there that are as bad as Alex Jones.

       Regulating tech companies
       How do you then manage that from a government point of view
       when these companies have such enormous power and you don't
       really want them to be making these decisions? At the same time,

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       you want them to be responsibly monitoring their platforms.

       Let me give you an example. Actually, I was coming over here juggling all the
       subjects, and I say here's one I think Kara would be interested in. You know
       Backpage?

       Mm-hmm.

       I'm somebody who spent a lot of time legislating against the abhorrent sex
       traffickers. You know how Backpage was essentially busted? They were
       busted under existing Section 230 law. The reason we had problems is
       because law enforcement didn't move aggressively enough and quickly
       enough. And after a while everybody said, "Oh, we can't do anything about it,
       let's go pass this really flawed law, SESTA and FOSTA," which in my view is
       gonna take the worse guys ...

       Explain that for people who don't know.

       Yeah, this is basically the law that, in effect, lifts Section 230 and allows for
       the prosecution of sex traffickers. I think what it's going to do is drive the
       really bad guys to the dark web. These are places where you can't get to with a
       search engine.

       And, by the way, when we had SESTA and FOSTA on the floor, I offered an
       amendment that said the focus ought to be to get more prosecutors, and some
       of the people who hollered the most on the Republican side about how
       terrible this was, they wouldn't vote to deal with what the heart of the
       problem is, and that has been inadequate federal law enforcement.

        Cybersecurity and tech leaders testifying
        Right, enforcement. So, where do you ... With the companies

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       coming to Congress, the last Mark Zuckerberg hearing was not the
       most illuminating, I think. I don't know. What were your thoughts
       on that?

       I think that that's right.

       I'm being kind.

       Yeah. I'm not gonna criticize my colleagues, and ... You know, the point is
       these are really technical, detailed issues. I've brought some examples today,
       in terms of ... You know, cybersecurity. I mean, the government is just
       basically comatose in terms of cybersecurity.

       I think it is a continual battle to try to take issues like these - which are very
       technical, probably aren't known to lots of members of Congress - and say,
       "Hey, guys. This is why we really need some major cybersecurity reforms." I
       mean, the Trump people, from a personnel standpoint, they've unilaterally
       disarmed. They got rid of their cybersecurity expert.

       There's new hearings coming up with Facebook, Google and
       Twitter. Are these gonna be any better or are these just show
       trials, essentially, that lead to nothing?

       Well, I think they're important hearings. I personally think that the
       Intelligence Committee has missed the single most important issue, which is
       the follow-the-money issues. Because what we're supposed to be all about is
       counterintelligence, and following money is counterintelligence 101.

       What happens if the Democrats win the
       House?
       Senator Wyden, if the Democrats do take over the House, what do

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       you imagine will happen? Besides millions of subpoenas going out.

       Let me tell you what I'm working on. I want to make it clear ... In the new
       privacy bill that I'm working on, if you are misusing consumer data and
       harvesting people's information wrongly, I want to come after you.

       I want real transparency on how people's data is being used, and I want
       consequences if a company loses or abuses somebody's data.

       So, what do you imagine •.. You don't think there'll be more
       onerous regulations, or regulations at all? When you look at
       Europe, for example, they're quite far down the road, compared to
       this country.

       We've got to pass a privacy bill that ensures that people get to control their
       own data. They get real transparency. There are consequences. I want paper
       ballots and audits for the 2020 election. Look at what we've seen in the last
       couple of days. I said a month ago, a month or six weeks ago, that Donald
       Trump seemed to be on his way to creating an enemies list in terms of
       national security advisers. And I say that to your listeners, I disagreed with
       John Brennan on lots of stuff. I was the one who took him on when he spied
       on the Intelligence Committee's files. But I think this idea that they're moving
       to put together some kind of list is really ... It's not just Richard Nixon, but it's
       gonna compromise national security.

       All right, so what else might be passed?

        Well, I want election security. And I want to make sure that as we work
        through the 230 issues we don't walk away from something that I think has
        been of great benefit to this country.

        I want to get right this question of what happens in an Alex Jones case. It's

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       something I'm working on and I'm gonna put in my bill, to define what
       happens if you go beyond the boundaries of what I call our shared value of
       basic decency.

       All right. Senator Wyden, thank you.

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      US Senator Says There Should be
      ''Consequences'' for People Like
      Alex Jones
       Brodigan & Kirchoff Wednesday August 22 2018




       The chilling story below is why people who don't like Alex Jones are quick to
       point out the story surrounding him is bigger than Alex Jones (see Video: Bill
       Maher Defends Free Speech and Alex Jones and Donald Trump_!lll
       'Dangerous" Social Media Censorship: It Could Happen to You Next). Jones
       was just the excuse leftists were looking for. Now we have Democrat Senator
       Ron Wyden demanding consequences for platforms that don't remove JlOOpk
       like Alex ,Jones. Let that sink in.

           "I think what the Alex Jones case shows, we're gonna really be looking at
           what the consequences are for just leaving common decency in the dust ...

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       all caps an entire paragraph. Use three exclamation points. I dare you.

       InfoWars was just the first shot. Hold on to your butts and prepare for
       impact.

       Tell me again about how much the left loves the First Amendment. I'm all
       eyes and ears.

           1791 Drops Truth About Rap, Gun Culture 2.0 I Louder With Crowder




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• The ;;.mm C3lUlot make the remraming order;: arftet the COlll't beating l1llless lite person ~ (!)bas bttn i-wnally given
  ( se<vcd} 11 copy of your n!lqUC$t and my tcmporal)' orders. 'fo show that tlw pcrsotl in (~)bas been served, lite plfl<OO
  \'\ho o;ervoo the fomu must fill out a JW®fuf 1'C•"iee farm. Fnmi CH-200. f'l'<;..•l•if Pt:Nwuil St:nkt:. may be used.
• l'vr inform:i1ion about SCJ\'i''('. r~-ad Form <11·200-INFO, Wlu:t l• '"Pr11<!fllf Pcrsmut1 Strn•fu~?
• Jfyuu rue unable to $CJ'\"C the pcr.;t>n in(Z\iu time, you may ask for Rrurc time lo""'"" lhe docummL~. 1lse
  hmn Cll-115, Request to C'm11imle CQ:l/1'1 Hcari1111. and tu Rei5MJI: TempONrl' Re.straining Order.


                                                    Notice of Court Hearing
                                                  (C"IYil Harassment Prevention)                                                      J:
                                                                                                                                      I
     Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18()~N••mber;.
                                       ()                    PageID.2370 Page· ··--·
                                                                                33 of· 106
                                                                                       -i
                                                           [ 37-2618.ooo42064.cU-HR.CTL 1


                                                    To the Person in@:

• ff you want I<:> rcspoll.d to lite TIXjUCSt for ord<.,-rs in writing, li!e Fonn CH-120, Response to Request/(,,- Civil
  Hara.umrmr Re:strni11i11J!,, Orde:r.r, and have s<>mtmnc age Igor older notyo11 or anyone to be prolcdc.'tl-maH il tn
  me person in (D .
• The person who mailed !he fonn must fill out 11 prfK.lf of sen'ioe form. Form Cl I-250, PmtJj of/?i.i!rvic1.· <?f kespon.~t· l>y
  Mail. may be used. Filctbe completed furm with the court bdbr..i lbe hearing and b1'ing a copy with )'Ot1 to the c-01111
  hc.arin.g,
• Whether (>r not you r~pond in writing, go to the Ju,ming if you       '""'IL
                                                                        tlte judge to hear fmrn you before making an
  order. You may tell the judge why ynn agree or<lis;igrec witb the orde.i-s requl:h1:cd.
• You mny bring wltnes;;es and other evidence.
• At the bearing, th" judge may 111ilk" r"~!raining order:> agam't you that CA.>ukl la.'t up t0 five yean; and may 01'd~r yon ro
  run 1 in to law cnforociu~Jll, or sci I to or store wilh 11 Iiccnscd guu u""11..r, any tlr.;-,1.1·m• tl1al ymi nwn or possess.



                          Request for Accommodations
                          J\ssistivc listening syslem,;, ce>m1n1te1·-assisled real-time ('.lll)tiuning, nr sign irulgllllgt:
                          in1e1w..ier s<,-rvices are available. if you ask at lea~l five d~ys before the hearing. Conlacl rhc
                          cla.k's uni1:e nr go to www.cvw·ts.ca.gov1}&ms for Requc.<tfor Acco-mm1Jdarirms by l't'l'smr.<
                          with msabililies and Ne.vpmt$1! {l'oan MC-410). (Civ. Codt:, § 54.3.)




                                                    (Clerk willJill QUI thi" pan)

                                                    -Clerk's Certitic<ite-




                                                   Notice of Court Hearing                                       CH-109, p,,!l<' J of J
                                                 (Civil Harassment P~ntion)
~ R;;;;r·i~ o~d'~;;-·--- ~                                                             ... ...
            Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2371 Page 34 of 106
Read Can a Civil T!aFas.im.ml Restraining OrM.r Help Mc? ([rJnn CJr-/{}(J-
INFO) before completing this fomJ. Also fill out Cmrfidmr.tiat aETS
Jnj!Jrmo.lion (form CLEJ'S.IJOI) witb ai; much infonnnlicm as you know.

(1) Person Seeking Protection
....:...;
                                                           k\ru:.VJ
                                                        <~for
            a. You:rFuHNamc::ntfa                                                         Age:
                 Your Lawyer (ifyou haw:                        this r:.ase)
                 Name:                                                         State Har No.:
                                                                                                        Superior Court of Callfornla, County of
                 FhmNamc:
            b. Your Address (J,fyou hmoe a I.,,..,,w, gil>c your ltm')'e1" '.v                                   San DicgoSupcri.orCowt
                  infarm.atimt_ lfv<:m du 1101 luwe a Lm:i-~"' and wan.t iv keep your                               330 W. Broad way
                  home address private, you may !<ive a differeru mm~ing addre.»•                                 San Dio;;g11, CA 92HJI
                  instead.       y,,,, db rrnt haw. tu givt· tel£phow., fax, or e-mail.)
                  Adtlress:         .LW1 fuvt\cl-. l!ittvNe· 1f2.0'1 . ..                              COIN! /i/11' "' ~-   ""'™' " wlllHl fwm i~ !ilud.
                  City:      ~ D1~0                             ....    State;    J11 Zip; '11~JD°/    IC..,Numbsr.
                                                                                                           . 37-2018-00042004-<.:U·HR-Cll
                  Telephone:                        ·               Fax:
                  E-Mail Ad.dress;

(i'i        Person Fro.. m Whom P;;ron .Is Sought                                          (A 6fvtlt P.ttlif: lia +a -H : B15MJ1
 , _ _1     Full Nam~:              ..   {Vlo\tm.~
                                         . .. l"11eJ Alli ---·· · · · - - Age: 2:i I
            Addre.~s (ifkne>Wn): 3Ji;C.LJpYd} l\JeVJ\W f
            City: _&lrtUt hNA,                   ····---- s1a1e: lA zip: qz:Jo 1
            Additional Protected Persons
            a. Ate you a~king for protoction fur any oih<!f" family or household membon;? D Yes '5tJ. Nu Ifyes, list tllem:
                             Full Name                            ~        Age t,iy_~ with ymi'l H2Plare !hey rel.~~ to you?
                                                                                                 [I Yes     LI   No
                                                                                           --
                                                                                                 0   Yes O No
                                                                                           __ 0      Yes    0    No------
                                                                                                 0   Yes    D    No
            D Che.ck m'f"I: lflkere "'"'" PllO'i." pe¥Sons. Alladt a she6t ofpafJt!I' arni write «Attadunent 3a-Adt!ifionul l'rmected
              Pe.rsons ""for a tiffo. You may use jorm MC-015. Attachm.e11r.
            b. Why do lbese people need prntcetion? (Explain below):
            0 Check Iiere ifthim! i!,· no/ enough space. for your ans,.·er. P11t your 1:omplere answt'r cm the attadred sheet of
               paf""· m"fimn MC·025 and W1"ite "AIU1chme.nt 3b Wliy Others Ned Protection "'.for a title.




                                                                  This is not a Court Order.
 ..lurt~ Ci:tln11 ~ Qt"3n"Q, Wl'9V.'~tb.Uii4t'U'I
  ~         J.11'1.lU'Y 1,, l»18, M.rchlu·1 fmm         Request for Civil Harassment Restraining Orders                                 CH-100, Pogo 1 of!!
 Q)OO 11JC1r.I P~m:H1~_ ~      m ,(> md 62,T..Q                            (Civil Hant$!iment Prevantion}                                                  4
                                          ()
       Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2372 Page 35 of 106



(~)    Relationship of Parties
       Uow do you ktlow lhe pcn;on in ~)? (&plain lw.lrmr
       0    Check hM• iflhlfre is nol mm,gh space for your an:m'tlr. Put ym;r et>mpfete emswer on thl! (11.taclwcl slreet nf
            pap~r or fonn MC-.0.25 and >witl! "A.ttac_hment,4- .R..e/alimrsM ofPartk.>s "j·o·r a title.


(5)
           L
           _Jfi,1) J"'claMI .tlah\1latQ d vvu~'tltS~d
       Venue
                                                                                  ,. J[V!Qo) c+ IAW          ZO_l3- 2.oito
 -··   Vvlry are you filing in this c-OUllly'f (Check all that apply):
       a. U The P"™ln in @ lives in this cuunty.
       h. ~ l was haras;OI! by the perncm in(~) in this oouoty.
       c. LJ OU.er (.•peci/y): _ .

te·\ Other Court Cases
\. j
                                     1
                                      }   J.~\'l~i
                                       t;;J
                                                     'beeX -   fnc~lt([hP"tat
       a. Have you or wiy oftbc persons muut:cl in(l)hccn involved in anoilit:n:ourl ca.<c with the person itt (i)?
           ~ Ycs D No (Ifyes, di"Ck: •U1Ch kiJt4 ofcmse arul indicat(': wh.n <mil when «a«k wa« fikd.)
                     Kinl.\_of Case                  filed in (Ct'>antw~"lfftd     Year fil!l!! Case Nnmb~r (if knr'!'!!U
   @n) ~Cili!H11ta.: uem                                       VS- }}isl');))Sl(f\ ......   ~ d:::fiLWb~
            {2)    0   Donte.;tic Violcnec
            {3)    U Divrm::c, Nullity, Legal Sepanrtion
            (4)    n   Paternity, Parentage, Child Custody
            (5)    0 Elder ur D"J'cndcm Adult Abus~
            (6)    0 Evictioo
            (1}    0 Ouardiauship
            (R)    0 Workplace Violence
            {9)    n Smart Claims                                ____ .      ·------
            (10)   D   Gnminal

            (11)~v~8itli'ift~~it c(f~$~~~t~1)i re




                                                      This is not a Court Order.

                                  Request for Civil Harassment Restraining Orders                             CH-100, P"!)o 2 o! 6
                                                      (Civil Harasmnent Prevention)                                            -7-
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                                                             ( ) •PageID.2373
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                                                                                         36 of 106
                                                                                                   l .37·2018-00042064-CU-HR-C:TL .. •
                                                                                                                                            J
(l)
.,__,   ll.   (3)    How did the person in (2) harass yQu'i (Explnht. below):
                       Chcct here !fthere l~ not c11ouglr srm<Y!! f<>r yuur a11,wer. Put your r11mpk•te answer on tire anaclwtl
                    'tfL.
                       ,,1u,et ofpaper or form ,\IC-025 mid write "A ttadunt711 74(3,j-..cDe.<crihe Hanrssment "for a title.



                     --··---                                                                                                  ---···--



              (4)    Did !he pcrsrui in (!:l 1isc or tbre-<1.t"" tn use a J,'lln or MY Qfuer wc.aponl
                     n Yes f:i.\ No afye.<, e.xplain belmv):
                     LJ     Check hue if the.re. is nut erwugh spua for your answer. f>11t yoru c:ompl~ answer"" the aaache.d
                            slm:.t ntpape.r or {Qm1 MC-025 arui wrile _"A. ttac.J111; 7a(4.r-u~e. of Wt·f!Pl.ms ..for a. title.
                                  ~lcrljN-w+J111 f"la.1~                                                "-n (J5JL <L~_
                                                                                                              1
                     ...Mlt:                                                              J.:!.,   w1
                            CQ41~ · ,~h·\ \.'V) C:\ChVbdeeLn oo GC.i:,. 2o1 7-0JS:·                                                    _
                                                                                                                              ---·-· ·--
              {5)     Were you harmed or injured becaw;e of the haras'"ITl"ntl
                     M._Ye< 0     Nn (lfye.s, e""pluirr heww):
                     D Chftt:k he1Y.? if th•re [<not enough spfU'.t!! jor yu"r llll.<We.r. Pu.I J"Ur C1Jmpf<:I« an.vwe.r on the attacJted
                       shm!;f u.(pape:r orjurn1 MC-025 und writ<" '".Allaclrme11t 7a(5) 1Iarn1 or lr!ft1ry•"for a litie.

                     ~~a /fllitcM~.:J·                                                      . ·ic-~ d.tJ~~~I
                      J4i.161Af- I a1:11 ~of~WJ,S. \)\. ·                               icv-ooV~~g-w~ Pt, yoM,
                     -i II. V41 I[,~ ' Ji~ ± Mi?> .                                     ~(;Viv] _IX, l- .  .· -
              {6)    Did the ~olice a~c'I l$_ Y""'         n  N~ _         •                  .                  .                          . .. bt,.
                     If yes, did they J,,'lVc you or lhe person m (2) .an EJ.uc.rgeucy Protective Onk..'T'? 0 Ye..           00. No    ?~
                      Tfycs, the urdcr protect.~ ((:heck all that a,ppry").:        _                      / ~tYtr             Jtl, \::ilfr I
                     D Me            U The pen;on in(~)            D The persons in@).                            giJ'U'S    iV"t"
                      (~Wach
                          a copy u.fthe nrdcr if"you hai."e: on~~)
         b. Ha.~ lhc person in (2) harassed you at otller tim<1s"?
              tj,. Ycs 0        Nu   ~fyes, de~cribc pri"r ilu;i.deJll:> a11d provide date.• ofharassmenl befow):
              LJ    Clr~·ck lt1•re ifthere iv IWt enough space for your ilJISWer. l'ui your c.omplete <Zll.<Wt!I' on lire .attachr:4 slieo:t of
                    J~ orform        MC-025 o.1111 write "AttJJcllment 7b-Pro1•iuus Ilarassme:nt "fvr a title..
               . Sh luo\ IT--M~CV~n... cW-M~--
              -fil~\v1t
                                       Jrtl (}~Ili\l'VJ,'bp::nt
                                                       ti
                                                                Wl. lonn
                                                                 ..
                                                                                                    1             ·tpe.
                                                                                                                     · .
                                                                                                                  - ___
                                                                                                                            I fn      my
                                                                                                                      ---··--
                                                        This ls not a Court Order.

                                       Request for Civil Harassment Restraining Orders                                       CH·100. Poge 3 of!\
                                                        {Civil Harassment Prevention)                                                       -?
                                                      ()
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                Check the orders you want.
(8) ~ersonal Conduct Orders
··-·            f ask the oowt to cm:fcnhc per-son in (2.) not tn do any of the following thing" lo me Q-T to any person tn be
                protected liskd in@:                      -
                a.   't:A,.
                        Harl\SS, intimidate, mole!!t, attack. strike, stall\, lhrealen, ll.!il'nult (sc1rn11lly or olhe:rwise), hit, abuse, dei>troy
                        penmnal l'roJJCI1Y ot; ot disturb ihc Jleac<: of the pe(SOO.
                b.   \0..
                        Contacuhe person, eithm directly or indirectly, in any way, inch1dbig, l:mt not limited to, in pcISOJl, by
                        Ldcphonc, in writing, by public or private mail, by it•temffioo mail, by e-mail, by text message, by fax., or by
                        olh!!T electronic means.
                c.   'tf.. 0 Other (.•per.(fy):
                                  Check hen? if theu is not r.1wugh space for your at1swr.r. l'ut your complete (IllSW<'.r un tlw attar.lied
                                 sheet ofpafl"-P' 01·/orm MC-025 ami write "Atrac.hment Ile: Other l'er.•mzal Crmducl Ord~·rs, "for a
                                 tille.      .         ,,       L
                              . ,. C~\$:8-W.\'l- 1dijzt'.MJ)e::..<.O.R..._,_ __
                                                                               --------
                     rhe JXirson in (~) 1'>1ll h" m·dcre.d not tu take an;.• ar.lim1 ft) get the addresscts ur locations nf any pn>lt:di'Yl pe1:.011
                     unle<.<the crmrl)inrls gtmd ca.us!'. not to =•&e /he <mil'r.
(9'1 ·~ Stay-Away Orders                                                                  .
·--' a. I 11:Slc the court to order th~ pi:rson in(~) to stay at lea:st              5J!_
                                                                             yarcls away fi:om (cl11xk all that app(11}:
        (1) ~Me.                                              (8) lil.. My vehicle.
        {2)                   n
                    The otherpt:nmn$ listed in (3).           (9) D Olhcr (S(P.'Cifyj:
        (3) Kl My home.
        (4) ~ My job or wotltphice.
                      (5)     l1i.. My school.
                      (6)     0 My children';; school.
                      (.7)    0 My children's place of child c;are.
                ti. If the oourt orders the Jltmmn in (~) to stay away from all the places listi::d alJ<>vt, will he or she still be able
                    to get to hi• or her .home, sd1ool, 1rr jub? N.1. Y"" D No (ff""• (!Xp/ain fx~lo w}:
                      LJ      Chf.t.k har" ffiliere is Mt 1r11ottgh spac" ./i>r yam· answer. Pul your t<Jmpleie a11s1venm the attudu:d slrl'ctt>f
                             paf"'r orform MC-025 mid wriw. ·:1uachm.:nt 9h-Sta)"AW'1)' Orders. "jur a Jilk




{10':,          Guns or Other Firearms and Ammunition
 \   .. ...-'
                Du.:s the person ill (2) own err possess any guns or olher fircanns·,•
                If lhe judge grants a pmtt«:ti1"' orde.r, the persun in (i) will he prohibiledfrom owlli11g. po11.<r.s.';i11g, pun::husing.
                 r.xdvirig. or 111:tcnipti11g to ;n.r<'hase ar l'('~.(!iW a gJ.tn. other.firearm, and amrn1111.ition while lh• pmt,,ctive order
                 is ill e_ffi:cl. The p~son in (~ will alw> be 07'/fe.rod to u1m in lo law •n/01-ccme.nt, or sell UJ or Nlore with a
                 licens~d gun dP.;ik_,., any grins (Jr ftre111w1S within his or her immediatl? possession or control.

                                                                This is not a Court Order.

                                                 Request for Civil Harassment Restraining Orders                                 CH-10D.1'"!!"4o!6
                                                                (Civil Hal'a$$mant Prevention)                                                ~
       Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2375 Page 38 of 106
                                            ()

(1j) ~      Temporary Restraining Order                                                       _
       I requt:sl thirt a Tcrupor.ay Rcsttaining Order fl'RO) be issncd again~l the pcrnm i11             (3J
                                                                                                to lasr until !he h<:aring. I
       run pre""11ting form CH-1l0, Temporary Restraining Order, for llle coort's signature tngcther wilb LhiR /?.cq11<wl.
       Ha.• lhe person in(~) been told that you were gcring to go to court to ~ a TRO agairu;t hi.m/h1:r?
           0 Yes 1)0. No (lJyou answered no, e:rplai11 why 1"'lf1W):
       D Check. here if t!Jcro i.~ not cmo11gh Spat!<: far ywr ah.~a"1r. Put yottr ~~miplete. aruwer un the att<U'.he.d sheet of
           pap<1r urlnnn MC-025 a11dwrit(': "Altachnre11t I f-Tcmp"rary Re.straining Onkr"fara title.

       _l_llfa,i\- ~LI.I ~A~ ,MM~~ l•~,,,·y{\m JV1~!1'11· '1Yi1yq ~fl'-ld.-·_                         1



                                                                                                                    -----· ·--
       [J Request to Give Less Than five Days' Notice of Hearing
       Yuu must ha.ve }'<)Ur pape:rs pe.rsunal{v se1ved 0111hepe1-.<rm in(~ at it.'ast five days b•:fiire tke hearinx, zmleu the
       .c,ourt ord11rs a shorler lime for servi<.~. (Farm CH-200-fNH) oi't['lairu· Whal ls "Proofof Pcri;.onal Service"? Fr>l'm
       CH-100. Proof 11f Personal Scrvfoc, may be i<w.d IQ slww 1111: cmm that rJw pap<.'1"1 halJ<> bee11 served.)
       Jfyou wunt there to be fewer than five illiyi< between 1;ervicc 11JJd the hearing, explain wily below;
       0     Chrek here iftltL7'e i.• nnt enough spar.e for y<>11r an,.,..,_,._ Pul }'Y>llr crmrplatc (iJISwer 011 tlrc alfached slrcet of
             p«per or/mm MC-025 and wrirc "Atlachment 11--lkque.•t to <ihoe Les.v T1ra11 f<'hoe .Day.~ ' Noticv:! "}or a ti1lc.




(13\ iXJ.. No Fee for Filing or Service
'-.J         \vii
       a. IOl.,.The.re should be no filing fee because lhepcl'S(ln in {~) hw; a~cd or tbreafened to use violence "51-'inst me,
               ha~ ~~me, or h~ acted or- spoken in some other way that rm1.k"" me reasonably fear violence.

       h. )gl Tb.e sh.m ff or marshal should sCIVc (noli fy) the pe!Soo in ~) ~out tile onlera for free becau."" my request
              for orders is based on unl.,wful violence. a credihk tlll:eac of violence, or ~1alking.
       <:.   LI There should be no ffling fee aud the sheriff or llllll'Shal should &eTV\Z the pemm in @)for free because 1
                    am entitled !O a fee waiver. (You must complete muifife..fi:Jrm FW-0(11, AJ>plicaLion for Waiver of C'.nurt
                    FeeH and (klsts .)

(141   f] Lawyer's Fees and Costs
 ·-"      Ta~k the court to order payment of my O lawyer·~ foes
              T'lic amounl& rcq11csted are:
                                   Jter!l
                                                                                                                 -·-- $
                                                                                                                      $
                                                                                                                             __    ..


                                                                                                                --- s
              0     Che.ck he.re if there a1'(1 mon: i/tmt.~. f'#l IM. it•·11u mid at/IOrmlN tm th• atttrcJw4f she(1 afpapi.!r or form
                    }..fC-02 .5 a~d write ''Attncltmonl J4-Eawy~r '$ F ee.v mid C<>sts "'for a title.

                                                       This is not a Court Order.

                                      Request for Civil Harassment Restraining Orders                                      CH-100, P•ge &ofo
                                                       (Civll Harassment Prevention}                                                         -?
                                           ()
          Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2376 Page 39 of 106



0:~       LJ Possession and Protection of Animals
          I ask the court lt) order the following;
          a. fJ That l be given the s.:1lc pooscssion, care, and control ort:lte anin111ls listed below, which 1 own, possess,
                leaf!<l, k<>L-p, or hold, or which re.side in my household.
                r1ae11tiJY m1imt1ls b;;•, e.g., type. brrtil. nar1re, <101of", sex.)




               I req=t i;ol<: possession uf the llllimals becallllc (wecify goml <'l1U.<£ for grominx 1mk.r):
               U Ch«.k l1ero ifJbere is not 1muuxh .vpo.cefor your an.vwer. Alt your cump/etl!. ll1ISWW' on ihe attached
                   slumt o/papcr urfarm MC-025 o.na v.'l'ite ''Attachment 15a-Posscssion 1ifAnimals"for o /Ule.




          b.   fJ   That the person in@.)mnst Stay at leasl_ _ yards away from, Md DOI lake, sell, trnnsfet, encumhcr,
                    conceal, molest, attack, slnl<e, threaten, harm, or nthCIIVise dispt~"" of, the animals listed above.

(1-61 'il:l. Additional Orders Requested
~.. _.I

               l a.•~ the court to make the fullowing additiOW!I ortlt:rs (.']'•:"CW:);
               LJ   Check II ere 1{there i.!I oot <:J'l<JUXh space. for your amwmc Put your wmplete answ<"r un the attached sheet of
                    pi:iper orform ft{C-(}25 and ~·dt<: "Attaehm.-.Jtt 16 Additi,,nal Order£ Reqmmed, "for a lltle.
               _/laj.~~~ VL1r01€J . Jlf5t,_._
(."~
•, 17J Number of pages artad:u::d to this form, if any;
 "~-~~


           Date:


           l.awye.r 's name (if <»IY)
                                                                                •Lav.')H!r.'.< !llgllaturc

           I dee larc oodcr penalty of perjury urn!cr the laws .,f the St.ate of Califirmia that the infurmatinn above and on all
           allachmcnts is true and correct.




                                                      This is not a Court Order.

                                        Request for Civil Harassment Restraining Orders                           CIM 00. Pago Gof6
                                                       (Civil Harassment Prevention)
  Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2377 Page 40 of 106




SUPERIOR COURT Of' CALIFORNIA




   l'i.AINTIFF..PETITIONER:

DCFl:'NC>AN11RESPONOFNi:

                                    .\
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                                                             ()

                                            Attachment 7a(3)~ Describe Harassment

                                                             Tuesday, August 21, 2018

         Mr. Afy and .l attended University of San Diego School of Law together as
   incoming lL 'sin 2013 to 2016. Mr. Aly graduated in May 2016 and l t,'fllduated at
   lhe end of my summer classes at the end of July 2016.
         In 2014 - 2015 we became friendly acquaintances wllo occasionaUy ate
   lunch logetber. 1u 2015 l sold him one of my textbooks at a diner in Hl Cajon his
   family had just l'Cnted space from for a Middle f.:Ustern restaurant. In fall of 2015
   after Mr. President Dt:m.a1d J. Trump announced his pres:idenlial campaign, Mr. Aly
   viciously attacked me on Facebook to the point where I became uncomfortable and
   I blocked him. Days after that awkward encounter, Tran into him on campus
   during our October 2015 Dean's Mixer (Octo~..- 20, 2015), and felt very
   uncomfortable. Mr. Aly looked me dead in the eyes and told me, "I'm in an ISIS
   Sleeper Cell". I became upset because 1 fe1t Umt he was taunt1ng me for my
   political views V>'ith a threat that nobody would take seriously. I aqked, «what do
   you mean "sleeping"?", He f'Csponded, «until l'm activated".
         M:r. Kevin Snow (whom 1 did not know by name at the time of the October
   20, 2015 encounter), laughed an evil laugh at Mr. Aly's remarks. There was one
   other student standing in our little circle, Mr. Eidou IIamamlow, but he became
   distracted by a Professor (1 believe Professor Alexander) and did not appear lo
   have heard Mr. Aly's comments. After hearing lhese comments, 1 got a flu shot
   {which Twould not do now) in the writs of Warren Hall and then walked upstairs
   to the third floor of Warren Hall with my friend Mr. Brad Jubber lo our corporate
   taxation class with Pl'ofessor Abrams.
         At this point, I was 5-10 minutes late to class from slamming a beer at the
   Dean's Mixer immediately proceeding ML Aly's ISIS comments and getting my


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   flu shot, but Mr. lubber was late as well since I convinced him lo get a flu shot
   with me. In Corp-orate Taxation, Mr. Jubbe:r and l sat to the right of the professor
   podium, Mr. Jubhcr in the first row and myself in the second row. Upon walkjng
   in and intcnupting: cla'ls late, Mr. Abrams, presumably frustrated that other
   students were late to class and that he witnessed myseirwhat he likely presumed to
   he ''lollygagging" up to class, yelled at rv.Ir. lubber and I in a loud tone of voice
   with disappointment that he had never used with either myself or Mr. Jubber.
         f was upset and shook up through the entire corporate taxation class period
   due to Mr. Aly's remarks. J Jefl class and had a nervous breakdown in my car in
   the parking garage a<; Tcalled all my family members and friends, none of whom
   answered on this particular occasion. Ms. Brittany S1ack, my friend at the ti.me,
   returned my call and stated that she had a meeting on campus witll a professor al
   that ti.me, so I came to rrieet her. I \vas so shook up that I accidentally dropped lier
   dog. I spent a cotiple hours with Ms. Slack and my roommate Ms. Melissa Kelm
   proceeding the incident We have differing political views, so at this point I do not
   1·cmembcr whal l relayed to them specifically of the comments Mr. l\ly made to
   me tl1at day. Due to the way they both handled situations which arose afi.er this, in
   connection \l!ith these events, I am no longer mends with citlu:::r Ms. Siai;k or Ms.
   Kelm, so I wouldn't be able to find out exactly what tliey remember without a
   court order.
         1n March 2016, Ml'. Kevin Snow, witness of Mr. Aly's terrorist remarks,
   ala1D.1ed a majority ofUSD Law School students and faculty during a several w"eek
   long episode that we thought was a "mental break". This consisted of, among
   olher thin.b'S, Mr. Snow making several inap1>ropriate alanning Faccbook statuses
   online referring to his USD I .aw classmates as "basic Nazi pussy" and more,
   uccosting other :)tudents at school, disrupting classes, and terrorizing otlicr students
   to the point of where several students expressed wncem that he might have a

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   bomb or weapon in class_ During the week that USD finally took a1..1ion lhrough
   Depamnent of Public Safety and whatever woi·k. they did with law enforcement,
   Mr. Snow publicly proclaimed that he was aclively engaging in terrorism, at ·wbich
   point I realized that he was Mohrunmcd's friend who was a party to our prior
   conversation.
         At that point in March 2016, I notified Department of Public Safety about
   Mr_ Aly•:; remarks, as l was led to believe that I was one of the only students who
   r1..'1D.aincd in contact with the administmtion and Department. of Public Safety long
   aller everyone else. Twas never followed up with by the school 01· law
   enforcement regarding the March 2016 incidents.

         On Friday, July 8, 2(116 al 10:51 p.m., I emailed Professor Sichclman, the
   proibssor who ultimately ensured Department of Public Safety became involved
   with the Mr. Snow matter after disruption of the MBE class, to inform him ofM.r.
   Aly 's !SIS steeper cell comments made in 2015 after I read an article from Drudge
   Report rcgurding JSlS Sleeper Cells being activated. Please see emails.
          On JuJy 9, 2016, when Twas still a student at USD Law School a11d actively
   attending two summer school classes, Professional Responsibility and an
   extemship with the USD Federal Tax Cllnic, Mr. Aly stalked rne at my residence in
   Pacific Beach, CA no more than 8 hours after I emailed Professor Sichelman
   regarding tl1c commt.'llts Mr. Aly made to rne in 2015. !'lease see emails_
         1 saw Mr. Aly outside my building at or around 9;30 a.m. on July 9, 2018
   and U:nmediately called Ms. StepJumie Myers, an acquaintance whom has foderal
   dcardllces with the Department of Defense and Homeland Security. Please Se(!
   Police Report.
         Ivly neighbors witnessed Mr. Afy outside Ms. DehC!l's building at 6:30 a.m.
   sitting in bis car with the ent,rine running and confinned >lfith me 011 July l 0, 2018.



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         On July 11, 2018, I emailed lhe President of USD requesting increased
   secu1·ity presence on campus tmti1 the end of my summer tcnn at USD. Please see
   emails_
         On July 12, 2018, 1 emailed the Department of Public Safety al USD,
   specifically Captain Qllinton Kawahara, and Law Schools Deans Dean l-'en11olo
   and Dean D' l\ngelo. Please see emails.
         On July 19, 2018, I received the business card from l\1r_ Chuck Milks,
   Detective I Task Force Officer with the San Diego County Sheriff's Department,
   San Diego Joint Terrorism Task Force address at I 0385 Via Sorrenjo Parkway, San
   Diego, CA. 92121, same addl'ess as the Federal Bureau of Investigation. Plemi.e sec
   exbibits.
         On July 20, 2018, Detective I Task Force Officer Milks interviewed me at
   my old residence at 462 I Lamont St #5A, Pacific Beach, CA 921 ()9. Please      set~

   emails_
         On or around July 21, 2018, I found a blank card mailed to me on July 25,
   2016 from San Diego with no return address and nothing written on in the inside.
   Pfoase se<r email ·with photographs. I allege the handwriting is Mr. Aly's
   handwl'iting, which I'm fomi1iar witll from Professor Brooks' Fall 2015 Civil
   Rights class.
         At the end of January 2017, I noticed a maliciously defamatory Twitter
   accounl in my 1rue and legal name @TiffunyDehen. This account followed several
   defamatory acC-Otmts such. as the KKK, Adolf Hitler, and more. The account
   harassed rne, t11rcate11ed to throw my dog off of a clitf or eat him, and more. lbe
   John Docs responsible for the acoount drew Nazi swastikas all over my
   copyrighted photographs. 1 was fearful for my safety al this time because I was
   under the impression thal the FBT and correct law enforcement agencies were



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   taking action again~1 Mt'. Aly and Mr. Snow as they assured me they would do, but
   upon seeing how the illegal behavior continued to escalate, became unsure.
         I filed a lawsuit in the Southern Distri(..1 of' California as soon as l could on
   02/0 I/2017 in an effo11 to get everything on federal record since 1 teared for my
   safety and rightfu1ly so since Mr. Aly showed up at my apartment jusl hours after I
   emailed a professor regarding his terrorist remarks to me in which he openly
   declared to be an enemy combatant of lhe United States while we were, imd are,
   currently at war with ISIS. That case is still going from Judge Benitez to uow
   Judge Larry Alan Burns. On August 20, 2018 I filed motion for leave to file a 1hlrd
   amended complaint, Case No. 17-CV-00198-LAB·WVG.
         I am still fighting with 1\.vitter to recover identifying infom1ation behind the
   offending illegal Twitter account such as the l.P. address, but have thus far been
   unsuccessful due to the fact that Perkins Coic, LLP, 1\vitter, Inc. 's Jaw fimi,
   asserted that CDA § 230 immunity bars my suit on Twitter's behalf
         I continue to fear for my safety. This whole time l thought local and foderaJ
   law enforcement agencies were actively investigating both Jlcrsons of interest, M.r.
   Aly and Mr. Snow. Upou further investigation into the results of the law
   enforcement efforts, I am even more fearful for my safety because 1 have been
   unable to get in louch "'"itb the detective currently working my case (in fact, all
   agencies keep telling me they nave no case and it's not their jurisdiction; tliey are
   sending me from one to the other).
         1 tried to start a new report, and Officers Welsh and D1maj, badge numbers
   6461 and 7204 respectively, responded to my call to San Diego Police Department
   on Saturday, Augu~1 l 8, 2018 around 11 :30 a.m. They notified me that they have
   no rcwursc to protect me against Mr. Aly based on what I said so far unless there
   was a protective order in place, which l thought was being handled by the ghost



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   am1 of the FBI and SD Sheriff Department who jointly investigate terroris1n in the
   Joint Terrorism Task Force.
          Mr. Aly has been licensed with the State Bar of Califomia since December
   2016, bar license number 312419. l recently filed a complaint with the State Bar
   of California regarding his behavior, to which I just received the bar's response
   clos1ng the complaint without further investigation. Please see bar response. I am
   in tlic process of obtaining additional information and evidence from law
   enforcement, both state and federal law enforcement.
          Mr. Aly'i;. behavior has become increasingly violent. As l explain in my
   recent prior filings for my civil case. Mr. Aly was arrested three times in 2017,
   including a telony for pouring bleach into a stagnant pool of water, i.e.,
   contaminating public water supply, along the Santa Ana River.
         Please see my recent filings attached as exhibits which explain ~fr. Aly's
   background in more depth. Mr. A1y's behavior has been in<..Teasiug in violence and
   damages caused to rne over tI1e course of several months. When I was a minor,
   around 16 01· 17 years old, th.is young woman became obsess"'xf wilh me and
   stalked me on MySpace.     r went to school for six months and returned home, only
   to find her still at it. What orii:,-inated as 01igina1Iy threatening defamation onlinc
   resulted in her eventually stalking me in person, like Jvh. Aly, and eventually
   beating me one night when she grabbed me frorn behind and threw me on the
   ground and started punching my face.
          Sccing as how Jvh. Aly's behavior has been increasing in violence, T
   respectfully request a.11 order of protection put in place immediately against myi;clf,
   and my dog if possible since John Doe alrimdy threatened hann to my dog t~icc. 1
   believe J\..1r. Aly consists John Doe 1, and as soon as I have dire<..t evidence from
   Tu<iUer, I plan to add Mr. Aly to my ongoing suit cmie number ! 7-CV-00198-LA.B·
   WVG.

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M          Gmail
Drudge

Tiffany Dehan <liffany.dehen@gmail.com'"                                                          Fri. Jul 6, 2016 at 10:51 PM
To; Ted Slchelman <tsiclle4man@sandlego.edu>

  Hi ProfeS$0r Sicl'lelman,

 Thank you. I get it. Since the wor1d started going crazy I've ~n reading Drudge non-$top and I really don 'I want to
 have rorgot:ten to t&I! you something: which i$ probably nolhil'lg so please don't think. I'm a raeist but the reason !he
 Kevin Snow thing: starteQi l"reaktng me oi.rt so much was becaus& last year at a dean's mixer I was talking to
 Mohammed Ali (kid from egypt) who was temng me about his mother flyil'lg to Egypt the w&&k after the planes went
 down in Egypt so immediately I startea asking questions like is your mom okay rs she traveling safe whieh airline, etc.
 and Mohammed was standing w/KeYin Snow (only in face lnteractlon.1 have reail!ell with Kevin Snow}. Mohammed
 looked me deac;I ill the eyes and told me he wa$ in an l$is sleeper cell. I played dumb and asked fike what do you
 mean sleeper cell and he says steeping ......you know untU it's activated. Uneomtortable sllence. Kevin Snow just
 stood Ulere laughing. l figured tie was just making fun of my views but ii nu11Jy creepecl me out and I btocked
 Mohammed on FB after but wl'!en all tl'le Kevin stuff was going on I couftln~ find anything about Mohammed'. f couldn't
 even find hi$ profile from a diff Facebook account

 I dldn"t want to make basele$s aRfl!gations so l didnl ten public satety/lhe deans until after the captain at campus
 safety kept emailing me to "remind me 1·m und&r no duty to report any additional infomianon blll if I had any ad-ditional
 information about Kevin Snow oontacling me to let1hem know.· {On a Saturday.) I wanted to just g@1; him hospitalized
 but the more posts Kevin made the more I got creeped out and though! he was just trying to act like a crazy per$Qll. I
 face bo-oked his mom that same night and she resporn:led 2 weeks taler and tatlled to my mom about getting him tleip
 but she claimed the police and school wouldn't help her. I Clon't knO\v what tl'le deal is with Kevin Srtow and mos!
 people jusf think he's a crazy ~ but if he was just !tying to cause a distraction to make USD a target tor l':!is frierid
 Mo, l mean seems smart •o me - attack private scllool in biggest navy seal City undetecied after two dlff ln:sumces of
 Cfying wolf (undergrad who had breakdown and $hot his parents in point loma fast year S<> two years after USO
 suspended him and tl'l~m ke\lln snow), I mean I couf<fnl get anyone to listen to me - tried the police, FBI. sheliff. my
 navy seal rtiends laughed me off and oo did a raooom homelarnl s11curily dude.

 I l\nQW it S-O-unds crazy but since you are the only Professor I know who reads Drl.IClge I just reat.Jy wanted you tQ know
 in case you feel like some!hlng weird happen$ al school this fall. I hope l'm just paranoid bLJt can't be too sare aftet
 this week.

 Thanks again for suggesting DMCA
 11ffany Dehan




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M Gmail
Nevermind

Tiffany Dehen <tiffany.dehen@gmail.com>                                                               Sat, Jul 9. 2016 at 11:15 AM
To; Ted Slchelman <tsic:helman@sandl&go.edu>

  Nevermlnd he was standing outside my apartment today so I'm with my friend who has security elearances meeting
  wilh Ille .FBI hopefully today.

  Sent from my iPl1one


Ted Sichalman <:tsfct'lelman@sandiego.edu>                                                             Sat, Jui 9, 2016 at 8:47 PM
To: Tiffany Dehen <tiffany.det'len@gmail, C<Jm>

 Hi Tiffany-I read your emaif. My Instinct is that the statement al the mixer was a poorly formed joke, b\il l'll make sure
 tile issue receives more atte111iort In any event, to be certain, who exactly was standing outside your apartment? Of
 coorse. pkta5e ret me know ifthete is anything else I can do. -Best, Prof. Sichelman
  [C!c10teu tMi h'<ltlon]


Tiffany Dellen <;fllfany.dehen@gmail.com>                                                            Sun. Jul 1O. 2016 at 9:37 AM
To: Ted Sichefman <isici1elman@sanfjiego.edu>

  Thanks Profe5sor SiChelman. I !alk.ed to the appropriate people $0 it should be resolved but I'll let you know if I n&Qd
  anything else! Have a good summer!
  Titrany

  Sent from my lPhone
  [·Ql>Ot<d ""' MJ.:J.nj


Ted Sichelman <t1>!C11elman@sandie90.et1u>                                                           sun, Jul 10, 2016 a12:31 PM
To: Tiffany Dehen <:tlffany.dellen@gmail.com>


  G!ad to hear ll1at. Tiffany. So r will nt>! follow up 1111less I Mar otherwise. l have a oreat m.m1mor. too\ -fl\ist. PrN.
  Siohelman




  From: Tiffany Dehen [maillo:tiffany.cleheri@gmaiLcom}
  Sent: Sunday. July 10, 2016 9:37 AM
  To: Ted Sichelman
  Subject: Re: Nevermind
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OFFICER'S NARAATIVE:

On 07·09-16 at about 1000 hours, I responded to a radio call to investigate a possible act of terrorism. The
reporting party Stephanie Meyers called police ai:Nising a Middle Eastern mare, who her friend Tiffany
knows, was at Tiffany's residence and claimed to be part of ISJS. The location of the incident occurred at
4621 Lamont St. #SA, San Diego, Ca. 92109 (incident number 160700160).

Upon arrival, I checked the surrounding area of the apartment complex for ttie male along with his vehfde
which was described on the radio call. I could not locate either at the time of my Investigation.

r sl)Oke with the second reporting party at the location of the incident who I identified as Tiffany Oeh<.:m via a
California ID. Oehsn advised me an aquantaince she attends faw school with was standing in front of her
apartment complex and was part of JSIS which made Iler fearful for tier safety (See Dehen 's full statement
beIDw).

As Dehen was speaking, she was speaking very loudly and frantically about the sl!Uation. Dehen later
regained her composure and left her apartment to go stay with her friend Meyers until ttie incident \Yas
resolved.

STATEMENT OF TIFFANY LEIGH DEHEN !REPORTING PARTYj:

Dehen acfVised me a couple minutes prior to my arrival, a Middle Eastern male named Mohammed Aly
Which she knows was standing in front of her apartment complex near his vehicle, Aly did not MY anything
to her or do anything but was only stl!lnding near his vehicle, Dehan staled he rater was attempting to get
something out of his vehicle but she dfd nQt know what it was.

Dehen ac:Msea me sha knew Aly througll school. They are both !hird year law school students at the
University of San Diego. Dehen advised me the reason why she was fuarfuf of Aly was because in October
of this year, Afy tofd her at a law school event "mixer" that he was an ISIS sleeper cell and was awaifi~ to
be activated.

Dehen described Ary as a Middle Eastern mare, black long curly hair, brown eyes, 5'07, and 1501bs,. small
beard, unknown date of a birth but believed him to be about .26·27 years in age. He was seen wearing no
shirt and dark shorts. Oeh1;m did not know Aly's address but stated his parents used to rent a place at 401
W. Main SL El Cajon, ca. Dehen described Aly's vehicle as a white Honda (unknown license plate},

Approved By: A/Sgt. Sanders #6611




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   JOS!:Pfl l!USVA
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                                SAN DIEGO REGIOl\IM~
                                 OFFICER'S REPORT




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  Safety
  Tiffany Dehen <tlftanydehen@sandie90.edu>-                                           Tue. Jul 12, 2016 at 4:12 PM
  To: Qulolon Kawanara <ql<.awahara@sandlego.edu>-, Meredith D'Angelo <meredlthdangelo@sandktgo.ec!u>, Sleptien
  Fem.iok> <sferruolo@sancliego.edu;i-

       HI Quinton,

       This is Tiffany again. I have been really frei!lked out with all the terrorist attacks !hat have been occurring and I have
       some addili0l1al intormatloo I would like to sttare with DPS. l emalle<I the P111sk1e11t's ofli~ yesterday rt!(Juestlng
       increased security presence in and illround warren Half and by the USO Legal Clinics l>ecause of a recent incident

       l would like you to Ile aware that I emailed Protesso.r Sichelman on Friday night justto t!HI him what I told you a couple
       month$ ago ragarcllng What Mohammed Aly said 10 me at 111e dean's mixer last fa.11 (when Mohammed 1old me was in
       an ISIS sleeper cell and when I ask&d what si.eping meant he said "until l'l'll activate<I"). Prof. Sfchelman was the one
       who OOIOtacted OPS Jn lhe first place regatding Kevin Snow, a$ l undet$land. aoo I just wa11ted lllm to be aware due to
      ttie &&ealaiing terror'isl tllreat h&te In San Diego. The foll(l'Wil'lg morning. this past Satl.lfday, t walked outside to take
      my dog out and I noticed Mohammed with a newer white Honda Accord parked rigllt ootside of my apartment bllii<ling
      on Lamont St. I have never S&en him tllete before and I am not aware of any other uso law slt.idents !hat IM! in my
      comple>:-

       When I noticed Mo, he avoided eye oontact wlll'J me arKI walked around to U1e back of his car 1md started rumm11gi119
       arounCl for somelfling in his trunk. I grabbed my dog and ran Inside and eallecl my friend who has two federal secunty
       clearances. Sile conllrmed to me that !SIS is in tact her& in San Diego and the man who was arrested in Tucson
       recently was planning an attaek on Mission Bay. She lmmedialely called ltie police while I was on !he phone with hat,
       They e<ime over aoo escorted me to my car. l tllen te-emallitd Prof&uor Sk:helman to tell him nevermin<I abmrt
       reporting anything since w& planned on speaking with the FBI and tie made clear ne was willing to l'lelp me in any way
       he COi.lid.

       SubS&quently we contacted tile FSl on recommem:fatlon ofthe two star admiral h-ere in San Diego. The bureau put
       me through to a live federal agent whom f spoka with for 45 minuies regarding alllhe lnfOrmation I have on both
       Mohammed Md Kevil'I Snow. My ag&rrt's name is Crin and Iler badge #IS 9186.

      To my understanding there is now an active federal investigation ff there wasn't before but I llll\tll been frflaked out by
      the whole siluation because It just se&ms too coincidental to me li'lat he showed up outside my apartment the morning
      after I emailed Siellelman. He has never been to my apartment and I'm not awate of any otller reason that he woufd
      be ll'lere. l spoke with my nel!i door neighbors wl'lo informed me that they noticed hlm sitting in his car at 6:00 a.m.
      and ttiey confirmed both :tl'le same car I saw and that it was him once I $hewed them his photo. I did no! lake my dog
       out unt~ 9:30-10 a.m.. so 3.5 l'lours later.

       I tealJy aµpteciate increased security presence and if you have anything IO relay to erin. she advised me to can
       1800callfbi.

       Please Ill! me know if you need any atldilional infoonalion from me. Also, p.JeaS& keep atl of this lnf0rmaf!ll1l
       confidential, as I do not want my name to be compromised any more than it already is.

       Thank you.
       Tiffany Dehen
       520-400-1118
      Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2389 Page 52 of(l/2111~,
                                                                                     1061:39 !'M
                                                                                 (}
This rs Trffany again. I have been really freaked out wiittl all tile terrorisi attacks that have been occurting and I have
some additional information I would Hke to share with DPS. I emailed lhe President's Office yesterday requesting
Increased securily presence ill and around Warren Ha.II and by the USO Legal Clinics because of a recent inci<fent.

l would lfke you to be aware that I ema~ed Prol$$$or SicheJman on Friday night just to tell him whl!lll I told you a couple
months ago regarding What Mohammed Aly said to me at the dean's mixer last fall {when Mollamm8(f told me was in
an !SIS sleeper cell and when I asked what sleeping meant he said "until I'm aefivatec11. Prof. Sichelman was the one
who contacted OPS in the first plaee resanting Keviri snow, as r ullderstand. anel I just wanted him 10 be aware due to
the escalating terrorist thr&at here in San Diego, The following morning, this past Saturday, I walked outside lo take
my dog out and I noticed Mohammed witt't· a newer white Honda .Accotd parkeel right outside of my apartment building
on Lamont St I have never seen llim there before and I am not aware of any otller USO law $1udents that live in my
complex.

When 1noticed Mo. he avoided ell'& contact with me and walked around to the bar% of his Cllr and started rummaging
around for something in his trunk. I grabbed my dog and ran inside arid called my friend who has1wo federal sect1flly
clearances. She c:ooflnned to me that !SIS Ir; in fact here in San Diego and the man who was arrested in Tucson
recently was planning an attack on Mission Bay. She immediately called tl1e police white I was on the phone with Iler.
They came over an<! escorted me to my car. 1tllen re-&mailed Professor S~nerrnan to tell him nevennind about
reporting anything sine$ we planned on speaking with the f'Bf and he made dear he was wifJing to help me in any way
he could.

S1,1bsequently we CMtaded the FBI on recommendation Of the two star admttal here In San Dlego. The bureau put
me through to a ~ve fecle(al agent whom I spoke with tor 45 minutes regarding all the information I     nave
                                                                                                    on llo!ll
Mohammed and Kevin Soow. My agent's name is Erin and her badge# is 911;16.

To my undetS:tanding there is now 811 active federal invesli(Jation if there wasn't before but I have been freaked out by
tl1e whole $lt\lalion because it just seems too coincidentar to me ttlat he showed up outside my apartment lhe morning
 after I emailed Sichelman. He has never been to my apartment and l'm not awate of any .other reason Ula! ne woul!I
 b& there. I spoke with my nelrt dQor neighbors WhQ informed me thal. tl1ey noticed him sitting in his car at 6:0D a.m.
and they confirmed iroth ll'le same car I saw and ttiat It was him once I showecl them his photo. I did not lake my dog
out untm 9:30-10 a.m .. so 3.5 h01.lrs later.

 I teafly appreciate increased seeunty presence anti if you have anything lo relay to Erin, stle adYiSE>d me 10 call
 1800callfbi.

 f'>Jease let me know if you nffd any aelditional information fl'om me. Also, please keep all of this informalitln
 confldenliaL as I do not want my name t1> be comprqmii:led any more thian ii atr11ady ts.

 Thank you.
 filfllll'.'f Dellen
 520-400.1116




 From: Tiffany Dehen <iiffanydehen@soodiego.edu>
 Subjectr Re: Urgent
 Date: March 12, 2016 at 4;43:33 AM PST
 To: Quinton Kawahara <ql:.awahata@saMiego.edu>

 One more thing I rememllered and is bothering me. A few months ago al a dean's mixer I was standing near Ille beer
 -Oispenser Md said hi to my friend Mohammed - 1had a couple classes with him and we u&ualty tlad friendry debates,
  I sold him my teX!book - i though! we were pretty good friends but one day Ile started verbafly attacking me on
 facebook on a comment l made on a political post. Then when I was standing at the dean's mixer i think i remember




------~---------------·--·--
                                                                                                                      AJ21/18, 1:3!1 l'M
                                                                                   ()
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Mohammed (Aly fast name?) standing with Kevin Snow. I remember because I thought my friend EidO!'I was standirig
around them - and maybe Daniel Kim - and remember lhinking I knew almost eveiyolWI except for Kevin - r did no!
re<»gnize him by name, Mohammed started lacing irllo me about how rm so much different in real life than I am on
facebook when it comes to politics and started getting pretty harsh wilh the insults. I wasn't really sure how to
respond because at one point ISIS came up or I asked why his mom was !lying to egypt or something and one thing
led to anot11er I can't rememl:ler1he.exacl word$ leading up to it but I remember him looking me stone cold in the taoe
and saying ·;·m with lsi$" and I laughed It o1f and say like el<CU$e me what I don't get it "I'm With a sle$per cell with 1s1s•.
 He sat there for a while not saying anytl1ing and I didnl know how to react because I didn't line! it funny but kevln (or
whoever I ttlink the guy was standing by moham"*' was) was laughing hylterlcally loo. I just didn1 find the idea of
minimali:i:ing terrorism very funny. Alter an awkward silence he started laughing hysterically. t didn't think it was funny
because he was ostracizing me fOrthinking that fSIS oould be a 111reat- t.l'lis was like light aQer san bemardlno or one
of the ot11er big events. I didn't tell any0ne because f though! he was trying to just paint me as a raoCist If I started
ciying wolf and telling people he was with !SIS but hi$ facebook page mlgl'lt be wortll checidng out to see If he'$ been
posting anything out Of the ordinary. After this ine!Clent a few days rater he started posting some wery strongly worded
polilical opinions that started making me uneomfortable so I bkM;ked him beeause I dldnl think his joking arounrJ abollt
IS!S was f1Jnny. Might be wor't.l'I checidng him out just to make sure everything 's okay. I'm worried aboot my friend$
going to the all day even! on campus tomotrow.
      Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2391 Page 54 of-0121/111,
                                                                                ()   106 l:t>S PM



M        Gmait
Remain Calm and Study On ..

Milks, Charle& <Charles.Milks@&dsherlll'.org,.                                                 nw. Jul 21, 2016 at 12;52PM
To: Tilf'any Dehen <liffany.del'ien@gmail.oom>

  GGod Afterl'!QQn, Thank you to; your email. I spol<;e w~h Captain Kllwahara at the USO Office Of Public Safety earlier
  today regarding the itlformalion you snared. Se assured 1hat the l1'lfo1111atlon and circumstances cone@ming
  Mohammed and Kevin have been and contin\le to b& monitored and rnve$ligated. With all eonfidenee I reassure you
  tllat the personal safety of yout$eif and the students and Sia.ff at USO continue to be a p!iolfty. No information I· have
  seen to date indicates lhal your pil'rsonal safety is at l'i$k by any of the r.sted persons. Thank you for sharing the
  information me yesletdlllf about the soeial media and first hand statements.

  My initial recommendation ye$1erday and remains toclay, that you coollnue to concentrate your attenticms and efforts
  to yout JD stl.Kfiei; and not let !he illflammatoiy rll!l!oric posted on soeial media cause excessive concern. In plain
  coltoqulal termmology. Remain Calm, we Got ihis...

  Have a great w&ek. and dQ wem on your final JD efforts.


  Chuck MIlks, Detective I Taskrorne Officer CT-1
  San Diego Join! Terrorism Taskforee
  10385 Vista Sorrento Pkwy, $an OieQO, CA92121
  Dlltsk: 858-495-8545
  Ced!: 6~9·241-5819



  ---·Original Message·--
  From; TiffanyOehen(mailto:tiffan:rdehen@gmaiLcom]
  S!ilm: ThUt$day, July 21. 2016 10:38 AM
  To: Milk!l'. Charles
  Subject; Update

  Hi Chuck,

  I was starting to feel bad yesterday because of what yo11 said aboi.rt Mohammed Sleeping out of his car. I fell soriy for
  him, llu! then I just can'! &hake tl'liS feeling . Mohammed is a wild card and I've been surprised by his actiQns and
  01,11bursts in the .past,

  I just can1 !eave ft atone it's consumfllg my mind because I feel Uke something is not. right. Especially the fact that
  he's Ileen sleeping out Of his car. When 1talked to him abol.ll where he lived a while ago I remember I got confused
  because I didn't get what he was saying. I always ask everyone what part of town they live in especially around
  sch-Ool evenls and he told me like two different things so I remember l)eing coofused.

  I haw never in my life f9Jt this scared in eveiyday life. It doesn't just au seem like coincidsnce. When my neighbors
  said they saw him Sitting in his. car they nid they walked over to lhe car and tllought If was weird Ille the c.ar was
  runnin9 and the windows were fogged up and he was. just like Sitting in there at 6 a.m. When I came outside he triad
  so !'lard to avoid eye contact with me and keep hi$ head tumed away from me but I got good Jong looks at llim and I'm
  100% Sl.lre it was him.
                                                                                  ()
     Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2392 Page 55 of 106
 rm just worried that he might be purposely Sleeping in his car an<! hard to find. My mom thinks his fa.mily has a lot of
 money an<! that's what l always assumed sine& he's from Egypt and goes to USD. His lnstagram paints a really nii;e
 pictu.re of who he is but it's not a true repr&sentation of his wflel Side.

 I'm sorry If I sound like rm makrng a big dear out of nothing. 1just havenl ever had ttiis feeling with any other erazy
 person I know and I have met a lotoflhem. l'w interacted with schizo$, bipolar people, ~le from all over the world
 \mcludlng several friends ft0m the middle east), drug addiets. homeless people. millionaires, you name It and I've
 neve-r felt likll l just can't trust somebody no matter what they say. Th& Dar is really expensive and I ooutd have sworn
 Mohammed had an older honda <:Ivie when I met him at. his parent's diner. I'm hyper$ensitlve Of my sul'l'oundings so!
 know that it was a newer car lllat he had with him last weekend. f feel tike he saw me so Ile could l'lave gotten in Ills
 car a mJ driven away before I noticed he was there bul instead he walked around anel rummaged throogh the trunk so I
 just felt Uke he wanted me to see him {which I kr.ow seems irrelevant but it was just a weird feelfng I got).

 The guy I thoyght the school wa$ talking about sl&eoping in his car at o~ point ls James Jankowski and he was
 reporled to the dearn; for ertalic behallior as well allhougl'l I think he's just m&ntally ill. We've seen a few other kids
 have psychotic breaks so - are very observant because attho1.1gh all law students are a little weird, the extra weird
 ones stand out.

 Sorry if rm a bother this has just been eating away at me since he told me becau$e I was afraid things would get
 weird and with all Ule strange stuff 90ing on around the country I'm getting more afraid, I'm noticing everything oul of
 the norm and I even emailed DPS al school about this old white guy with a red al'tima parked in the <lean's spot right
 b1.1! the law school yesterday. He caught me off guard on my way to class b/e I was shook up from feeling sorry fOr
 Mohammed. Thi& guy ha& been in the same spot at the same time I have been going to class the past few days aoo
 every time I've passed him he's looked away an<1 shifted around. I thought he was a prOfessor so r smiled at him on
 my way to class yesterday and he yelled after me and asked Which class I was heading to. When I said PR with Mum
 he asked what PR was. I said professional responsibinty al'ld he asked how It was going am! I said g.oot:1 il"s the last
 day. He's not a raw professor Ille they know what PR is and the girl who Sits next to rne in class was walking up late
 with me so l asked if she's evet seen him there an<! she said !he same thing I thought - he's been there in the same
 spot ewryday the past few dli!ys but we don't remember ever seeing him aro1.1nd befete that.

 I emalied DPS arl\'I came <1ownstair$ to lalk. lo them al our break. The offlcer was zooming around !he parking lot bu!
 said ft sounas like a guy they know who hangs out in the library sometimes and used to work there {if it's the same
 guy he's thinking of). ll was just weird because the officer seemed eaget to find him Hke IM guy sho1.1ldn~ have been
 around the raw schooL I know that sounds silly and irrelevant but that's just aii exampile of how scared and
 hypersensitive I am right now.

 rm taking what you said to l'leart and l wm apply to be AUS.A or FBI ASAP.

 Thank you so much for ptoteciing 1.15 and please let me know if you find out anyth1r1g new so I can etther relax or help
 you find what you need. I hope they are going to have extra $ecurily at the bat next week.

 Tiffany




Tiffany Dehen <tilfany.dehen@gmail.com>                                                           n1u, J1.d 21. 2010 at 1:12 PM
To: Lill Dehen -<idehenaz:@gmall.com>



 Begin foJWar(led message:

 From: "Milks, Charlos" <Charle$.MUks1msdsherif:f.or(l>
 Subject: Remain calm and Study: On ..
 Date: July 21, 2016 at 12:52:39 PM PDT
 To: 'Tiffany Dehen' <:ti!fany.de:IH1r1,;:!!Jgmall.com>
_., ...,.,, --                   nn,
                    Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2393 Page 56 of 106
                 ...,....,,,,_.~;:nm .1111_, ~tuav
                                            )           ( .                                          ()

   Tiffany Dehen <tiff'al'ly.dehen@gmaift,o;;om>                                                                     Sal, Jul 23, 2016 al 8:06 PM
   To: "Milks, Chatfes" '<Charles.Mllks@sdsheriff.org>

         Hi ChUCI<.,

         Thank you               very much I apprecla!ll it! I just want to tell you I received a weird earn in the mall today thal was mailed
        July 15..It's blank aoo has a weird stiCl\er. Do you think t11ere cook! be a connection? I've aSkl.m all my friends if they
         maifed me som!l!hing an<:r so farthey'Ve all said oo and think il's weird there's no return address.




         Sent from my iPhon&

         ,. 011 Jul 21, 2016, at '2:52 F'M, Milks, Charles <Charfes.Mi1ks@sdshe.riff.org"' wrote:
         >
         ,. Good Afternoon. Thank you for your email. I spoke witll Captain Kawahara at the USO Office of Public Safety
         earlier today regarding the information you shared. Be assured that the infomiati<>n and circumstances conceming
         Mohammed and Kevin have been and continue to be monitored and investigated. V'Vith all conlidenee I reassure you
         that the personal safety of yourself and. the $1utlems and staff at USO continue to be a priority. No information i have
         seen 10 date lnelk:ates !hat your personal safety is at risk by any of tile listed peraons. Than!<. you for snatlng tlle
         information me yesterday about Ille social media anti firsl hand statements.
         >
         ,. My lnitiaf reOQl\'I menclation yesterday and remain$ today, that you continue to ooncen!rate your attenU1ms and
         efforts to you, JD studies and not let !he inflammatory rheforic posted on $Ocial media cause excessive concern. Jn
         plain colfoquial t&tminology, Remain calm, We Got This ...
         >
         > Have a great week and 40 well on your flnal JD efforts.
         >
         >
         ,. Chuck Milks, Detective! Taskforce Officer Ci-1
         > San Diego Joint Terrorism Taskl'Orce
         > 1036& ViSla Sorrento Pkwy. 8.$11 Diego, CA92121
         > Desk: 858-49$-8545
         >Cell: 619-241-6819



         > --··Original Message----
          ,. From: Tiffany Oellel1 [mailto:1<ff.a11y..d<ihe11@gm1iiLcomJ
          ,.,,.. ......... ··~o:t•n1 ,:PICI ::llOOY un ..
-···-··
              Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2394 Page 57 of 106
                                                            ()
     >Sent Thursday, Jyly 21, 201610;38 /Wi
     > To: Milks. Charles
     > Subject: Update

     >Hi Chuck.
     >
     ,. I was starting to feel bad ye$1erday t)ecause Of what you said about Mohammed sleeping out Of his car. I felt sorry
     fOr him, but then f just ca1rt shake this fffling. Mohammell is a wild card an<! I've~ surprised by his actions ar)(I
     outbursts in the past.
     "'> I just can't leave ii alone ifs consuming my mind because l feel like somettling is not right.
                                                                                                  Especially the faet that
      he's been sleeping out Of his ear. When I talked to him about where he lived a while ago Fremember l got corrfused
      because 1didn't get whal he was saying. t always a$k everyone what part of town they live in especially eround
      school events and he tOlcl me llk.e two differem lt1ings so I remember being eol'lfllsed.
      >
     > I have never in my life felt this scared in eveiyday fife. It doesn~ just all seem like coincidence. When my neighbors
     said they saw llim sitting mhis ear they $ald !hey walked over ta Ille car and thought it was weird M:: the car was
     nmning and the winclows were fogged up and Ile wa1; just like 1;itting in !here al 6 a.m. When I came outside he tried
     so llal'd to avoid eye contact with me and keep his head turned away from me but I got good long looks at him and          rm
     H>O% sure it was hirn.

     > t'm just worried that he might be pyrposely steeping in his car and hard to flnd. My mom thlnl<.shis family llas a lot
     Of money and thars what r always assumed since he's from Egypt and goes to USD. His rnstagrarn paints a really
     nice picture Of who he is but it's not a true representation of his wild side.
      "> I'm sorry if f sound like rm making a big deal om of nothing. I Jt.rst haven"t ever had this feeffng with any other crazy
     pet$0n I know and I have met a lo! Oflhem. rve i!lte-racted With schizos. bipolar people, people from aJr over the world
     (including severar frieoos from the middfe east}, Clrl.lg ad!liets, homeless peQple. millionaires, you name It and l've
     never feft like f just can·t trust $omebody oo matter what they say. The bar is f!lally expensive and I coul!I have sworn
     Mohammed had an order honda Civic when l met him at hi$ parent's diner. I'm hypersensiljve of my StlrrounQ'ings so r
     know that it was a newer car that he had with him last weekend. I feel llk:e he saw me so he could have gotten in his
     car alld driven away before I naticed he was there b\!t instead he walked around and rummaged through th& trunk so 1
     jusl felt like he werrteel me to see him {whicll t Mow seems irrelewnt but it was just a weird feelfng I got).
      >
     > The guy I thought the si::hooJ was talking about steeping in his car at one Point fs James Jankowski and Ile was
     reported to tile deans for erratic behavior as well althoug.h I think he's ju$! mentally ill. We've seen a few other kids
     have p.sy<::hl)(ic brea.ks so we are very obstrvant because atthough all law students are a little weird, the extta weird
     ones stand out.
      "
     > SOny if I'm a bother this has just been eatil)g away at me Sinee he tQld me beeause 1was aftaid things would get
     weird and with all the sh'ange slyff going on around the counlry rm getting more afraid. I'm noticing everything out of
     the nllml ancl l even emailed DPS at school about this old white guy with a red amrna parked in the dean's spot light
     but the raw school yesterday. H$ caught me off guard on my way to class blc I was shook yp from feeling sorry for
     Mohammed. This guy tlas been in the same spot at the same time I have been going to class the past few days and
     every time I've passed him he's iooked away ani:I shiftecl around. l thoogllt he was a professor so r smfiled at him on
     my way to Class yesterday ancl he yelled after me ancl aSked wnittt class. I was heading to. Whllt'l I said. PR with Muth
     he. asked what PR: was. I said prQte.ssionaf resp-Orlsibllify and he aSiled how it was going and I sa.la. good it's the last
     day. He's not a law proressor blc they knoW what PR i$ and dhe girl who sits next to me in class was walking up late
     wilh me so I ask&<! If she's ever seen him there and she said !he same thing: I thought • he's been there in lhe same
     spo1 everyday lhe past few days but we don~ remember ever seeing him around before that.
      >
      > I emailed OPS ana came downstaits to talk lo 1ttem al our brMlt The officer was zooming arouncl the parking lot
      but said it wunds like a guy !hey know who flangs out in the iibraiy sometimes and used to workthe<e (if it's the same
      guy he's thinking ol). rt was just. weird because the olllcer seemed eager to find him like the guy shouldn't have been
      around the law school. I know that sounds siJly and itrelevant but that's jus! an example of how scared and
      hypersensilive I am right now.
      >
     Case 3:17-cv-00198-LAB-WVG
                             ) Document 82 Filed 09/05/18 PageID.2395 Page 58 of 106
,,.> rm taking whal you said to heart and I wlll apply to be AUSA or FBI ASAP.
> Thank you so much for protecting us and please let me know if you find out anything new so I can either relax or
help you lil'td whal you need. I hope they are going to have extra security at the bar next week.
,.
>Tiffany
>
>



 s anacl\ments




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Mllk:s, Charles <Cha!'les.Milks@sdsheriff.org>                                               Mon, Jul 25, 2016 at 7:10 AM
To: Tiffany Oehf!l'I <trffany.Clehen@gmail.com>

  Good Morning Tiffany,

  Thank you for sending me ltle email wtth the photographs of the caret you .r&eeived. Yes, that is unusual but I have no
  information !Ila\ would lead me lo believe that the catd was sent from or by eitller of the persons we $poke about.
  However, what you should do i$ handle the cam and envelope as little as possi.ble and place the Items inlo a large
  envelope or plastic bag. l"ackaging tile Item$ will aid in keeping any trace evidence unconlaminate<I $hould analysis
  become necessary.

  i received an email from your mother regardi.ng a concern for your welmre and safety. 1eannQt MsPOnd or di~ctrss the
  assessment wtth her, but t11ank her fOf fhe email and convey that I underatand ner concern. Our as$essmenf
  contrnues, I will keep you updated !f and when anylhing significant oecurs or is discowted.

  Do well with yoor finals tomorrow and let me know if you mcelve any addttional unusual mail or notes.

  Th.anks. Ch1.1ek Milks

  ----Original Message---
  From: Tiff<iny D&hen [mailto:Ulfany.di:hen@gma11.com]
  [Qvot~tl   to•! h<lct.n)


Tiffany Dellen <tiffariy.dehen@gmail.com>                                                   Mon. Jui .25. 2016 at 10:13 AM
To: Liii Dehen <ldehenaz@gmail.com>

  I TOLD YOO NOT TO EMAIL HIM. IF YOU CANT CONTAIN YOURSELF I WILL SANCTION YOU AND CUT YOU
  Off.

  Sent from my iPhone
      Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2397 Page 60 of 106

  Begin forwar<led me$$1111e:


         From: "M~ks. Charles" <Charles.Mlfks@sasherift.ofg>
         Data: July 25, 2016 at 7:10:43 AM POT
         To: 'Tiffany Detten· <tiffany.dehen@gmail.oom>
         Subject: RE: Remain calm and Study On ••




Tiffany Oehen <tiffany.dehen@gmaa.com>                                                                Wed, Feb 1, 2017 at 8:32 PM
To: ·Milks, Charles" <Charfes.Milks@sd$11eriff.org>

  Hi chuck,

  I wanted to let you know I liled a federal defamation lawsuit today in us district court tegarolng U'le Twitter aoco1,1nl
  @tiffanydefltm pretending to be. me on Twitter. I ttilnk it's a USD student because one of the photos they u$ed to add
  my swaslika headband is my p!Qfile photo on Unkedln (not posted on Fae&book or Twitter from what I 1emember} and
  Linkedln shows two people from USd viewed my Link111dln aocount last week but doeiin~ show me ltie names. A fak111
  Faool)ook aocount byt11e naml!! Of Leslie smith added me on Facetiookso I confirmedtQ s.ee who it was and then
  lhought It was fake so I deftiended. Sile then refriended me and I sent a message saying I didn~ recagnize her by
  nama and asked if we met before, Then I realized !fle Twitter account all.er alld went bacl\ to checil her and the
  ace<:>unt is deactivated.

  I have been scared mt my saf$t)< because I feel ijke there's a possibility thls $~ualion   i$   Jinked with the piior situation.
  I'm working on fin<Jing a new apartment to move to.

  I want,ed to act qulckJy to get the suit filed ana gather tile evidence befor& if disappeared tor my civil ease because I
  can'I afford to hire my own attorney yet so I had to me pro se. I got in a car accl(lent on the way IQ court as we.JI so it's
  bt-en a hectic clay (I am okay and got checked at the E~ just to be $afe).

  Can you (ili!lase call me some llme tomorrow so l ean explain on th111 phone?

  I changed my phone number recelllly to S58·262-0052.

 Thank youll II (MO happy 2017wooooo!)

  llffany Dellen

  S&nt from my iPhone

  On Jul 25, 2016, at 7: 10 AM. Mifills, Charles cCharles.Mllks@sdsherilf.org> wrote:



postmaster@lidshertff.org <postmaster@sdsttertff.org>                                                 Wed. F'eb 1. 2017 at 8:32 PM
To: tlffany.dehen@gmail.com


  Delivery has failed to these recipients or groups:
  Milks. Charle$ t,Char1eis.M'1lk&@sdsheriff. org)
  The recrpient's mailbox is full ancl can't accept messages nmv. Please try resending tills message later, or eontad tile
  recipient directly.
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     rrom: 'l'iff&ny iOehen <:liffany.dehen@gmail.com:·
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     D&t.<>: wed,, 1 Feb 2017 20:32:29 -OROO
     Referennes' -:t'A.EOA72CB41 ODS45EH3DE3B081441El81'92F8013FA@MXMBCOCO 1 .sdsheriff.com,. <:46C2DCCD-
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     Final-Recipient 1·tc822;Charles.M11k$@5dsh!!riff.org
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                Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2399 Page 62 of 106
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      From: Tiffany Dehll!l <tilfany.Clehert@dmail.com>
      To: "Milks, Charles" <Charfes.Milks@sd:stlel'iff.org>
      Cc:
      Bee:
      Date: Wed. 1 Feb 2017 20:32:29 -0800
      Subject: Re: Remain calm and study On..
      HI chuck,

      I wanted to let. you know I flied a federal defamation lawsuit today in US district court regarding the Twitter account
      @liffanydehen pretending to be me on Twitter. I lhink it's a USO student because one of the pl1otos tlley used to add
      my swastika headband is my profile photo on Wnke<lln (not posted 011 Facebook or Twitter fium what t remembel') and
      Unl!E!dln shows two people from Usd viewed my Linkedln account last week but doeJ;n't shaw me the names. A fake
      Facebook account by the name of Leslie smilh added me on Face book so I' confirmed to see who it was an Cf then
      though! it was fake so I dertiended. She then refriemted l'lle and I sent a message saying I didn1 recogn;ze her by
      namE! and asked if we met befOfG. Then I realized the TWitter account alter and Wti'lt back to check her and the
      a-0count i$ deai:tivated.

       I have been scared fOr my safely because I feel like !here's a possibility this sltyalioo is linked wllh the prior situation.
       I'm working on finding a new apattment 10 move to.

       I wanted to ad quickly to get the suit filed arid galher the evidence before it <lisappeared for my civil case because I
       can'I afford to hire my own attomey yet 110 r had to file pro se. r got In a car accident on the way to court as wen so it's
       been a hectic day (I am okay and got checked at the ER just to be safe).

       Can you pJnse call me some time tomt>rrow so I can explain on the phooe?

       I changed my phone number recently to 858-262-0052.

       Thi!nk youll!! (And happy 2017 woohool)

       Tiffany Dehen

       Sen! rrom my !Phone

       On Jul 25, 2016, at 7:10 AM. Milks, Charles <Chartes.Mi~ks@sdstieriff.019> wrote:




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Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2400 Page 63 of 106




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                                       EXHIBIT 9


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                                      EXHIHIT 10
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                                       EXHIBIT 11

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Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2412 Page 75 of 106
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                                      EXHIBIT 18




                                      EXHIBIT 19
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 M Gmail
  Update

  Tiffany Dehen <tiffany.dehen@gmail.com>                                                           Thu, Jun 14. 2018 al 4:14 AM
  To: Charles Milks <Chatles.MilkS@sdsherift'.org>
  Cc: sdshetif!Webmaster@sdsheriff.org. lnfo@sd-lecc.org

      June 14. 2016

     San Diego Joint Terrorism Task Force
     Attn: Det&Ctive IT.ask. Force Officer Chuck Milks
     10385 Vm Somanlo Parkway
     San Diego, CA 92121

     FederaJ Bureau of lnve.strgallon
     Attn: Special Agent in Charge John A. Brown
     103S5 Vista Sorrento Parkway
     san me.go. CA 92121

     Dear Detective Chuck Milks or John Brown Special ~en! in Charge,

      I'm not sure if you received my prior emails, as I received messages s11owing ull<leliver.af)Je. but I just wanted to check
      in will'l you regardirig my case rrom 2016 about my USO law classmates.

      My civil sui! i1'I U.S. District Court forthe Soumem District of California case Number: 17-CV-00198-LAS.WVG is
      moving foiward and I wanted to check In. I ree&nlly filed me attached formal attom~ complaint to tl'le State Bar of
      California against Mr. Mohammed .Aly_

      I've been posting court fitlngs and up.gates regarding my lawsuitto www.Tiffi:myDehen.CQm to keep the public updated
      iri part due to continued fear ot my personal safety.

      Based Oil my prior experience, I am scared and f..itful that Mr. Aly mtgnl nnaBllte arlel continue to rear for my personal
      safety_ Ree&nt revelations regardirig Mr. Aly's continua us illegal behavlot is afarmrng. Please read the fOlfowing
      axcerpl li'om my le gar documents I am filing 00/1412018:

            Mr. Aly currently represents that he is a local attorney in Orange County,
      California and founder of Orange County Poverty AHeviation Coalition advocating on
      behalf of the ho1ncless. Please see https:!/voiceoibc.org/tag/mohammed-aly/. Mr. Aly
      represents in his own \vords, "he's struggled with depression, experimented with drugs
      and suffered through being looked upon as "other" because of his Egyptian heritage and
      his family's Muslim faith. During his lastycar in law school, and for some 1nonths
      afterward, Aly was hmneless, living in his car." Please sec https://www.ocweekly.com/
      santa-ana-attorney-arrested-for-protesting-displacement-of-homeless-in-
      riverbed-78884601. Jt is Plainti1T's position that Mr. Aly was not homeless for months
      and he's misrepresenting and defrauding donors/invcsLors of the Orange County Poverty
      Alleviation Coalition, the State Bar of California and the public based on Plaintiff's
      Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2422 Page 85 of 106
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 firsthand knowledge. Please see Exhibit 153.
        According to the OC Weekly article, Mr. "Aly's tactics of protest and resistance
 led to him being arrested three times in 2017. He still faces possible trial, andjaH time,
 on charges of resisting or impeding a peace officer·- once at the river bed and a second
 tirne at the county Hall of Administration. He also was cited for pouring bleach in a pool
 of stagnant water beside the bike trail." Id.
 My fear also continues to increase since not hearing from the FBI or SD Sh&riffs Department regarding what f
 perceive to be an increasing threat, partK:ularly after reports of lhe TWitt&r aocount when I met willl lhe FBI Ille day
 after 1commen<:ed suit (0.2102J2017) and the serious automobile coUision l was In on 0212012017, which r called and
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 see Seciion V(A} https:l'luapisd,ll!i1s.wordpress.rom/2016111.•7-02-~ta!fic-oo11lsio11-irwestigation .pdf,

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 emaif and the attachments to both the San Diego Sheriff Department and Fedeiaf Bureau of Jnvestlgalio11. as well as
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 Can S<omeone with !ht!! FBI pfease contact me wltti an update?·

 Than!(. you.

 Best Regards,
 Tiffany Oeflen J.O,
 tiffany.dehei1@gmail.com
 858-262-0052




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Mail Delivery Sub&y!iltem <mallet-<1aemon@googremaiLcom>                                     Thu, Jun 14, 2018 al 4:15AM
To: liffany.dehen@gmau.com




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                       Charles.Mllks@.sdsherlff.org
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Action: failed
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----··-- !=orwarded message -----
From; Tiffany Oehen <tiffany.denen@.gmail.com>
TQ; Charles Milks <Charles.MilkS@sdshetiff.org.:>
Cc: sdsheriff.Nebmaster@sdsheri1f.org, info@sel-lecc.org
Bee;
D<ite; Thu, 14 Jun 2018 04:14:58-0700
sub)eet: Update
Jurte 14, 2018

San Diego Joint Terrorism task Foree
Attn: Oelective I T<isk F'orce Of!lcer Chuck. Milks
10385 Via Sorremo P<irkway
San Diego. CA92121

F&deral Bureau of Investigation
Attn: Special Agent in Cllarge Joim A. arown
10385 Vista Sorrento Parkway
San Diego. CA >12·121

Oear Detective Chuck Milks or John Bmwn Speeial Agent in Charge.

I'm not $Ure If you received my prior em;lils, as I receiV&!I messages sl'lowi11g undetiverable, bu! I just wanted to check
in With you tegardlng my case from 2016 abOut my USD law classmates.

My civil suit in U.S. District Court for the SoLrthem ~$tricl of C$lif0mia Case Ni.imber: 17·CV-00198-lAS-WllG rs
mt:>\ling forward and I warned to Check in. I recently filed tile attaeiled formal attorney complail'lt to lhe Stale Bar of
CallfOmia against Mr. Mohammed Aly.

I've been posting coort filings and upelates regarding my lawsuit to www.TiffililnyDehen.com
<http:ifwww.tif!anydehertcomi> to keep lhe publie updated in part Clue to continuad fear of rny personal safety.

Based 011 my poor expertem::e, i am scared and tearful Iha! Mr. Aly might relaliale and continue to fear for my personal
safety. Recent revelations regan:ling Mr. Aly's oontlnuous Illegal bel'lavior is alarmlng. Please read the fOlfowtng
excerpt from my regal <lol)IJments r am filing 0611412018:
Mr. Afy currently represents ttlat he is a local attorney il'I Orange County, California and founder of Orange County
Poverty Alfeviallon Coalilion advocating on behalf Of1he homeless. Please see hiips:l/voiceolor,.org.'laglmoMmm-N.f-
alyl <liltps:il11oiceofoc.or1J1taglmohammed·alyl>, Mr. Aly represents in Ills. own words. "he's struggled w~h depression,
experimented wltll drugs ar\CI suffered through being looked upon as ·other" because Of his Egyptian heritaga and his
       Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2424 Page 87 of$121/18,
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  family's Muslim faith. D11ring hi$ last year in law school, and for soml!o months afteiwal'(f, Aly was homeress, living ifl
  his car.· Please see ht!ps:/i'www.ocweekly.com1:san!a-ana-attomsy-arrested-for-protes1ing-dispraeemem-of·homeless-
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  nome!e~s-i n-rivarbed-7S884801>. lt is Piainlifl's position th!lt Mr. AflJ was: not homeless fOr montl'ls and he's
  misrepresenting and defrauding donors/investors Of the Orange County Poverty Alleviatkln CoalHlon. the stale Bat of
  Cafifomia and the public based on Plaintiffs firstl'larid knowledge. Pfease see Exhibit 153.

  Aceording to the oc Weekly article, Mr. "Aly"s tacties of pl'Olest anc1 resistance led to him being ariested lhree times in
  2017. He still faces POSISible tnal. and jail time, on charges of te$isting or impeding a peace ol'fi<:er- once at Iha rivet
  bed and a 5e(:ond time at tl'le counly Hall of AdmlniS!ration. He arso was cited for pouring bleach In a pool of stagnant
  water beside the bike lrail.' Id.

 My fear also eontinues to increase since not hearing from the FBI or SD Sheriffs Department regardillg what I
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 --- Message trul'leated --·



Tiffany Dehan <tiffany.dellen@gmail.com>                                                         Thu, Jun 14. 2018 at 4:15 AM
To: Charles Milks <Charies.Milks@$dsheril!".org;»
cc: sdsheriffwebmastef@sdshel"iff.org, info@sd-lecc.org




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Mail Delivery Subsyi;tem <maller-Qaemon@googfemail.com>                                          Thu, Jun 14, 2018 at 4:15 AM
To: lif!'aoy.deheri@gmait.com

  [Quotei! le~! hld®n]

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 Action: failact
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  ---·-- Forwarded message ---·-
  From: Tiffany Oehen <tiffany..dehen@gmail.com"
  io: Charle$ Milks <Charle$.M~ks@sdsherilf.org>
  Cc: sdsherift'webmasler@sdstteriff.org. iflfo@sd·lecc.org
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       Case 3:17-cv-00198-LAB-WVG Document 82 Filed 09/05/18 PageID.2425 Page 88 of 106
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Bee:
Date: Thu, 14 Jun 2018 04:15:25 -0700
Subject Update
June 14, 2018

San Diego Join! Terrorism Task Force
Allt1: Oetedive I Task Foree Officer Chuck Milks
10365 V111 Sorrento Patkway
san Diego, CA92121

Fei!eral Bureau Of fl'lvestlgalicm
Attn: Special Agent in Charge John A. Brown
10385 Visla Sorrento Parkway
San Diego, CA92121

Otar Detective Chuck Milks or John Brown Special Agent in Charge,

I'm not sure if you received my prior emails, as I received mes$ages snowing    umle~VE!rabie,   but I Just wanted to check
in with you regarding my case from 2016 about my USD law classmates.

My civil suit in U.S. District CO\lrt tor ttie Southern Dismct of Cl!llfomia Case Number: 17-CV-00198·LAB-\l\'VG is
moving forward and I wanted to ch'K:k in. I recently fifed ttw attached formaf attorney cornplalnt to the State Sar of
CaOfomla agail!SI Mr. Mohammed Aly.

l'wt been posting court filings and update$ regard.Ing my lawsuit to w111w.TiffanyOen1in.com
<http:l/www.tllfanydehen.com/> to keep the pubNc up<lated in part due to continued fear of my personal safety,

Based on my prior experience, ram scared and fearful that Mr. Aly mighl t(!taUate and continua to fear for my personal
safety. Reo;;ent revelation$ regarding Mr. Aly's continuous iifegal behavior is alarming. Please read the follDWing
e:w:cerpr ftom my legaf documel'lts l am filing 0611412016:
Mr. Aly currenlly represents that he is a local attomey In Orange county, California and founder of Orange Co11nty
Poverty Afle\Jiation Coalttion advocating on behalf of the homeless. Pfease see htt.ps:Hvoiceofoc.org/tag!rnohammed-
aly/ <:https:l'lvoiceofoc.orgltag1mohammed-aly/>. Mr. Aly rapresents in his own words. "he's struggled With depression,
experimented with drugs and suffered through being looked upon as "other" because Of his Egyptian llelitage and 11 is
family's Muslim faith. D1.1ring his last year ln law school, and tor some months afterw.ard, Aly was homeless. li11lng in
his car." Please see llUps:l/www.<>~weekly.com1sa nta-a11a-attorney-orH!!$!ed-for-protesling.d!sp!acemeni-Of·homole"'s·
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l10mGles.s,in·r•verbed-788134Sfl1>. l!is Plalnlill'$ poslllon that Mr, Aly was nO! hOmeress for monU1s and h&'$
misrepresenting al'!d <lefrauding donorsllnvestors of tile Orange County Poverty Afleviatlon Coalition, the state Bar Of
Callf!;)mia <1ml the public based on Plalntiff's firsthand knowledge. Please see Exhibit 153.

Accotdrng to tile oc Weekly articfe, Mr. "A!y's tactics of protest and resistance fed to him being arrested three times in
2017. He stilHaces possible trtal. and jail time, on charges oftesistlng or impeding a peace officer - once at the river
bed and a ooeond lime at the county Hall Of AdmlniStralion. He also was C"rted for pouring bleach in a poof of Slagnant
water beside th!! bike trail." Id.

My fear also continues to increase sillee nol healing from the FBI or SD Sheriffs Department regarding what I
perceive to be an increasing threat, particularly after reports of the Twft!er account when I met with me FBI tl1e day
after I commenced $uil (0210212017) and the sertous automobile CQllision I was in on 02/2012017, wllicll J caltell and
notified the FBI of th& fO<llowing day 02121/2017 when l could not get the San Diego Police Department to lake a polioe
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              THE STATE BAR OF CALIFORNIA CALIFORNIA
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                             845 So1,1th Figueroa Street, Loi; Angolos, calltomia 90017·2515

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      {5) Include wiih Ulis form I.on a separate pieoo of paper) a st9tOO'len! of wnar lhe
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          as you uooltl'Sl.and them. Oo not include opinions or argument$. tr you employed tile
          attomey(s). state What you employed the a~sl to ®· Sig!\ and dale each
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         pertinent doct111'1$nls wch as a eopy of the tee agreement,. tanc.tllled clleclls or
         reoetQls, a!'I(! relevant COl'l'lllSpOOdeoce.)

      (6) lf Your complaint is about a lawsuit answer the following, If known:
         a.   Name of oowt \ror e~p!e. Sul)QliCI!' Coln:! anc: name!$ the c<:Mimfy)
              IJoiled Stllil!!S Dialli.::l COurt !Qr 1he Sou them Dit!!rlct Of C111i1Qmia. San Diegtt Coonty

         o. Tit\to d !ho suit (For example, Smith v. JOl'lll$}
            Tifta11y 0(lhl!l'I v. Jolm °"'1s l ·100. 11viibrir. Inc,, U1~verslty i:>f Si!n l)il!QO, & I>~ Coie. LLP.

         c. C21'>Q number of the suit 17-GV-001$(!-tAS-WVG


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      {S} T!'lllrm!.'ltiM lnfo~en:            E:J Not Appl~
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         YesO                   NoO
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                           (}
  Tiff.my L. Defo..'ll JD.
  I &fl4 Gamet Avenue 1l239
  San [)iego, CA 92109
  Phone: &58.·262--0052
  JjtJ.}Jfil'Jk)Jcn1.({ifDlli!J .c~.

  The State "ar of California
  Office of Chief Trial Counsel /Intake Dept.
  84 :5 South fi~'l.leroa Streer
  Los A111,-eles, California 90017-2515

                            THE STA TF. BAR Ot' CALU"ORNIA
          CALIF(JR.J.'iIA ATTORi."\E\" CO~IPLAINT FOR~l ADD.Ei\1)1J1\-t

          TQ TI-TE STATE BAR OF CALIF0&\11A:


         PLEASE TAKE NOTICE that Pro Se Plaintiff Tiffany Dehen submih. lhis
  California Anomey Complaint to The State Har of Califomfa on thi.$ tlic l 1'h day
  of June, 2018 for ~1ohammed Wa-el A!y, California bat licei1~.number 3l24I9,
  license active since December 2016.
         l declare under penalty of perjury that rh1;; following sia~ement is true and
  ac.curnte:
         1 am.::nded law s:clKx.il at the Univ<..'Ts.ity of San Diego School of Law from
  August 2013 lo July 2016, >vith a sbon: break in fall 2014. I allege that ~1r. A!y
  imd I were friendly acquaim.ances in law sdiool until Fall 2015 when Mr. Aly
  made me feel scared arid threatened due lo comments he made nn social media and
  then in person to my face. fo or a1·ound Nnvembt:r 2015 Mr_ Aly told me m 1x:rson
  th;ll be was "in au !SIS Sk.epcr CeH," and when I a*ed '\~:hat docs sleeping
  mc;,m'!'', he resp~mded, ··until rm activated.''
          }..fr. Aly maoethc;<;c comments in the presence of at least one othel' law

  >!u<lent by the name of Kevin Sriow, 'l-vi111 later called CSD lav.· ')1Udents, "'b~ic
  Nazi pL1~sy·· and admitted that he was "engagingill terrorism" during what wru;
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                                                            ()

  iniliaUy thought to be a psychotic break in Marcil 2016. During the Cl)urse of the
  school-\itide disruptive scare which \\'as reported by several students und faculty to
  I.he USO Law .4..dministi:ation, Department. of Public Safety, San Dicgu Poi ice
  Department, San Diego Sheriff Department, Department or Homeland Security,
  and federal Burc<llt1 offovesrigation and lasted for several days, I was integral :in.
  the discovery and flow of iofonnation from law .studc11ts and faculty to the schuoi
  administration and various law enforci.."ment ag.<."ncies.
             In July 2016, Mr. Al:~1 stal.kedaudbarass~d me at my residence 4621 Lamont
  Street #5!\., San Diego, CA 92109 the morning after I emaiied a ptofessor involved
  in. the !1.-farch 2016 evenas regarding Mr. Aly's prior comments, Professor led
  Sichelmau.. On this particular clay, my next door neighbors saw Mr, Aly outside
  my apartment in his new Honda Accord sining in his ear at (ir around 6:00 am.
  and I ;$ll>V Mr. Aly with his new vihltc Honda Accord outside my apartment aa or
  around 9:45 a.m_ when l took my dog out
             San Diego Police Departrmmt respcynded i1mnediaicly to the scene, which
  Mr. Aly had tied by the time they arrived. Two weeks later l recc:ived a surprise
  visit by 1hc federal Bureau of Investigation/ San Diego Sheriff Department Join
  Tern:msm Task force to follr)w up regarding the information relayed lo the Federal
  Bureau offovc$tigation the morning Nlr. Aly stalked ml;! at my residence. Tiu;
  same week I was in1erviewed. l afao reo:ivcd a blank card in the mail that I believe
  •vas written hy !'vb:". Aly &ld ~'flt as further unlav.rful hamssinerit and in1imida1ion.
             The officer to whom I spoke with at le11gth for hours a.o;;:mred me he \Wmld
  investigate further. During our meeting 'the officer told me at lhat poinr in time his
   l)l'ltrol had seen l\.>fr. Aly sleeping out ofilh; new car on a couple of occasions. i
   afle2e that l saw Mr. Ah: with an older Honda Civic in Spring 2fil5, which was
      ~·                    ~



  different from the newer White Hooda Accord he was with in Summer 2016
   cot1firmed by the officer to whom Tmet.
              ln late January 2(ll 7 ai1 unlawful Twitter acc-0unt was created in my true and
  legal name :@TiffanyDeben impersonating me. At this point in time Twitter hus
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   not provided me any idemil)1ng informatio11 pertaining to John Docs 1-100
   responsible for the Tv•itter account, bul l believe due to the direct evidence
   available Io me at this time that 1vir. Aly and Mr. Snow are responsible for the
   unlawful letrMi$1lc T,vfttcr a"-0unt.
                       -             ~                             -
         Dfrc\:tlv- dve1o .l\.1r. Alv's actions,. lbave damages lo show aft1.-r he rnadc the
   i"-'ftoristic C()!JllllC:nls to me a! law school in Fall 20! :S, again after !Jjs friend Mr.
   Snow h."lTori:red me and my classmates and professors at USD in March 2016.,
   which l think ri.·tr. Aly ·was related IQ, again after Mr. Aly stalked me in July 2016,
   after I dlscuvercd the t1nfa:wful Tvritter account starting at the end of January 10!7,
   and a!1 tile damages 1hi1t have ac1..'Ttled .::.-ince, including, but not limited to, t\V<"l
   aut(1n;obik collisia11s. TI1c first I was oo my way 10 federal Court in. San Diego to
   commt.'llce suit as soon as po~sihlc to get the information on federal n.-cord out of
   c011tinuoo fear for rny physic.al s.a:fet_y. TI1c sec:fmd collision I believe to be
   fo1cntiormlly related to the federal lawsuit which l. commenc;:d in United Stales
   District Court fo>the Southern Di~trict of Californi11 Case Number: 17-CV-OO l98-
                                                              ..
   LAB-WVG for causes of a<...'tion related to the illcmtl actions mentioned herein. 1
   also had 1w choice but to pol>tpm1c the California Bar Exam for at lca;,,1 three exams
   thus fa.i· due lo the iniutics
                           "      su.o;!ained bv,. ~fr. Ah' s unl<1>vfo:l terrorisli.c behavior.
                                                          ~



          i'vfr. Aly is mentally and (..1:llOtionally uns:rable and unfit to practice law, as I
   relayed 10 the Fed"-'rlli Bureau of Investigation      h~ July   2016. Mr. Aly had several
   outbursts reia1cd to lsfam and homelessness in tho small Civil Rights class I had
   with him taught by Professor Roy Brooks. Ar the time the fl:H interviewed me, the
   ot1h:er revealed the inforrnatfon that J\.:lr. Aly had been sleeping out of his car on a
   couple of 1x:~ioos according to his p<Uro1 nffic.er$. Eveu after .bearing of this
   information, I do not helie".'C· Mr. Aly was bom~less. I m.-..1 tJ1c Genera! ll.-tanagcr of
   the dinr...'f which Mr. Aly's pi~rents purchased h,1 turn into u Nfid<lle f:astem
   re:;taurant in Ei Ca.ion m Spring 20 15, who is a wnncss tn my previous
   acquaintanceship with Mr. Aly. ~1r. Aly had a brand new Honda AccQrd in 20!6
   and seemed to have significant fm1ds from an unknm.vn source. Sleeping a couple




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                    of days in acar doe< not qwilif!' ""•to be bnmc1.,., so r fun&,, "1/ege M,. Alv ;,
                    mi.srepre-senring to the bar, the k,gal community, ru1d the public.
                                  Mr. Aly ha.<; bad several nm fos \vilh !he law during and since law sc.11001.
                Pfca.<e '« anached - - - · including
               including two _ , , Of ml;ting publio or P"a<c office• whh viol..;""
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            on hefotlfofthc homeless. Please      hIJp::.c                         ~ec   1,_'.ri.s~nf.ii::...t11.~.iill,~.jr11~IJ;mvned:;,1h:.
            \fr Aly represents !hat he \\as homeless duri11,g his   year in   school and ibr      la.~             l<n~
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      ~i;:s::i:ci !rJce rimes ii: 201 T a11d cired for "pouring bleach in a p.:iol -Of stagnant
      v. a; cr be~i<le the bike irai 1." Id.

                       s.;.ir:n, \fr Aly told me, a fcilow fomafo law student whom he then
    harassed and iruimidated in a terroristic manner that he was an enemy combatant of
   fr e Emrtd s1,~te~ (,f >'\merica. In ,.-iolaiion of ihe lJ<:tited Sra1es Constitution Ar!icle
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   '.JJ Sec;ic1n n L \fr. A.ly openly declared to be a part of a terrori.st urganiza1ioi1 who
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                                                                                     ,,. Allan Burns is no,, residing


\.Iver the c:ase alicr the Honorahlc Judge Roger T. Beoirez rccused. himself As of
ihe date of!liis filing, my Sei.:<;1nd Amended Compia:int is liled and 011 record.
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 .             .           I am an American citiJ".en who has suffered substan11al
     harm for which [am $eeking monetary damages in a cou:rt ofh:1w. \'.>'hen
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  in Tiffany Deh'-'Il v. John Does 1- I00, Twitter, Inc .. University of San Diego, L.L.P
  and P<,.'tkins C--0ie,. LLP, I intend to add Mr. Aly as a defen<hmt personally_
         Please contact me for additional information which I will provide under
  sworn statement penalty of perjw:y. i am cummtly stud}ing for the California Bar
  .Examination and still mtc..mptin@ lo complete my application 10 the California State
  Bar, after extensive delay due to injuries susta.inerl from 11.1.r. Aly 's illesal conduct


  Dated: June ll, 2018



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                                                                       ,.,    Tiffany L. Dehen
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                                                               tS04 Garnet Avenue, itJ39
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                  THE STATB BAR                                 OFFICE OF CHIEF TRIAL COUNSEL
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                  OF CALIFORNIA                              Mela11ic J. U.wrwee, Inrerim ChiefTrial Couiisd
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August :3, 2018

Tiffany Deb.en
1S04 Gamet Avenue, #239
San Diego, CA 92109

RE:     Inquiry Number;         18·20845
        Respondent:             Mohan:imed Aiy

Dear Ms. Dehcn:
The State Bar's Office of Chief Trial Counsel has reviev.<ei:l yol.ll' romplaint agalnst Mohammed Aly to
del.l:nnine whether there are suffi<::ient grounds to 1wsecuti: a possible violation. of the State Bar Act
and/or RllkS of Profe;_~sional Conduct..

Y011 have stated that iYfr. Aly stalked and harassed you in law school, and lolt;l you that he 1vas an enemy
combatant of the United Staks imd ro mi ISIS sleeper cell. You futther alleged that Mr. Aly 1hat w;~s the
;<;ubject of a criminal investigation with the .FBI. You explained that you suerl Mr, Aly in federal court.
You al1;0 stated that Mr. Aly htJs terrorized you pcn>onally llild is tm:tlt to vractlcc law. Your complaint
l>"'tll.tc:d that Mr. Aly has held him.c;elf out ~s homele..r;s, which you do not believe to be true. You 1dso
alleged that Mr. Aly bas a criminal ri:cord. It appears that Mr. Aly wru; convicted of misdemeanor
trespassing in 2017.
Based oo our evaluation of the infoJ1llation pri.n··idcd, we are cJQsing your complaint. In order to
inve.stigate a!Iegatfo11s of attorney misoonduct, the State Bar JJecds specific focts wblch, if rirovo:d. would
establlsll a violation of the attorney's ethkal duties. Conclu.~ions bruied on spccula!i.011 and nol supportcd
by facto are insufficient lo W3tral'.lt Jnvcgtig&ti<m. Although you have generally slated that you dQ not
believe Mr. Aly is fit to practice law, based on your belief that he is a terrorist and the subject of illl FBt
investigation, the material provid«l does not ptesent sufficient facts to support an invcstig®on into a
potential violation of the State Bar A.ct md/or Rules of Professional Conduct. Whcthcr Mr. Aly'$ actioN
con.i;titute criminal conduct is a question that the criminal proseeut.orial agency of appropriate
jurfodictioo is. most qualified m investigate. The allegations you have made do not support a fmding th.rt
the attorney violaicd the State Bar Ad or the R1.1le.~ of Professional Conduct.

For these: reasons, the State Bar is closing this matter,

Ir you have new facts and circum$\anCe.~ that you believe may change our determination to close your
complaint, you may submit a written statemi:nr with the new infonnation to the Iutilke Unit for review·.
If you have any que.~oris about this process, you may cal! Deputy 'l'rial Counsel Kelly Gerner at ('.413)
765· l 293. Jf you leave a voice message, be sure to clearly identify the lawyet comphrlned of, the
inquiry number a.'>Signcd, and your telephone number iflcllliling the area code. We should return your
call i.\1thin two b1tsincss days.




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 Tiffany Dehen
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 If you are not aware of new tacts or cfrcumstllllces but otherwise disagree with the decision to close your
 <:omplafrtt, you may submit a request for review by die State Bat's Cornplaint Review Unit, which will
 review your complaint and the Intake Unit's decision to close the complaint. 111e CQmplaint Review
 Unit may r<;;0pcn your com.plaint if it deWnnines that your complaint was inappropriately closed or that
 you presented new, significant evidence to suppo(\ your complaint. 1'o request ~ii:w by the C-Omplaint
 Review Unit, you mu.~t Sl.lbmit your request in writing, together with any new evidence you wish to be
 considered, post-marked witbin 90 days ot'the date of this letter, to:

                                    The State Bar of California
                                    Compl~int Review Unit
                                    Offiet.: of General Couusel
                                    180 Howm-d Stn:1ll
                                    San Francisco, CA 94105-1617

 The State Bar canti.ot give you lcsal advice. If you vrish to consult rui attorney about any other remedies
 available to you, a certified lawyer refcmil service <:an provide the narneii of atmnteys who may be able
 to assist you. In order to find a certified lawyer n:ferral service, you may call our autOmated Lawyer
 Referral Services Direcrory at 1-866-442-2529 (toU free in Califomia) or 4 l 5-538~2250 (from outsidi.:
 California) or a-.'Cess the State Sar's lVCbmte at V.'WW.calb.ai:.ca, gov and look: for information on lawyer
 referral Sl1t'Vlce8.

 We would appreciare if you wo11id complete 11 short, anonymous !:>111'VCY about your experience witb
 fliing your oomplaint. \'v'hite your responses to Ute survey will not change the outc(>me of the complaint
 you filed against the attorney, !be State Bar will use your !lllSwers to help improve the ~crvices we
 provide to the public. The survey can be found at http:llbit.!y/StateBm-Surveyl.

 Thank YOll fbr bringing yuur ooncerns to the attention of the State Bar.

 Very truly youts,

 i!Jll ...~
 =er
 Deputy Trial Counsel

 KG/kg




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